     Case 2:23-cv-02193-MSN-tmp    Document 126    Filed 05/30/25    Page 1 of 67
                                   PageID 1429


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION


NICOLE FREEMAN, as wrongful               )
death representative of Gershun           )
Freeman and next friend of                )
minor child T.F.,                         )
                                          )
        Plaintiff,                        )
                                          )
v.                                        )   No. 23-cv-2193-MSN-tmp
                                          )
SHERIFF FLOYD BONNER, JR., in             )
his individual capacity, CHIEF            )
JAILER KIRK FIELDS, in his                )
individual capacity, and                  )
GOVERNMENT OF SHELBY COUNTY,              )
TENNESSEE,                                )
                                          )
        Defendants.                       )


                            REPORT AND RECOMMENDATION



        Before the court by order of reference are three motions to

dismiss     filed     by    defendants    Shelby   County,       Tennessee    (the

“County”), Chief Jailer Kirk Fields, and Sheriff Floyd Bonner, Jr.

(ECF Nos. 57, 58, 60, 115.) For the reasons below, the undersigned

recommends that the motions to dismiss be granted as to Plaintiff’s

Fourteenth Amendment inadequate medical care and state law claims,

and denied as to Plaintiff’s excessive force claims against all

defendants     and    Americans    with   Disabilities     Act      (“ADA”)   claim

against the County.

                       I.     PROPOSED FINDINGS OF FACT
     Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 2 of 67
                                  PageID 1430


A.      Plaintiff’s Factual Allegations

        1.   Gershun Freeman’s Death

        This civil rights action arises from the tragic death of

Gershun Freeman at the Shelby County Jail (the “Jail”) on October

5, 2022. Freeman——then a pretrial detainee at the Jail——died after

a physical altercation with correctional officers that was mostly

captured on video.1 Plaintiff Nicole Freeman, Mr. Freeman’s wife,

filed her original complaint on April 4, 2023, as the wrongful

death representative of Mr. Freeman and as next friend of the


1Plaintiff obtained leave of court to file the video footage as
Exhibit E to her original complaint and accordingly placed copies
on file with the Clerk of Court. (See ECF Nos. 2, 11.) In her
Second Amended Complaint, the relevant pleading here, Plaintiff
incorporates the previously filed video as Exhibit C. (ECF No. 54-
1 at PageID 627-28.) She describes the exhibit as “a single
thirteen (13) minute and eight (8) second compilation of camera
footage of the incident” released by the Davidson County District
Attorney’s Office (“DCDAG”) to Mr. Freeman’s family and then to
the public. (Id. at PageID 627; see also ECF No. 2 at PageID 215.)
It is not time-stamped and contains no sound. The undersigned notes
that, while courts may consider video evidence when deciding a
motion to dismiss under certain circumstances, defendant Bonner
objects to the video’s admissibility, arguing that “[i]t has been
altered by the DCDAG and does not represent the official record
maintained by the [Shelby County Sheriff’s Office].” (ECF No. 60-
1 at PageID 778); see Bassett v. Nat’l Coll. Athletic Ass’n, 528
F.2d 426, 430 (6th Cir. 2008) (“When a court is presented with a
Rule 12(b)(6) motion, it may consider the Complaint and any
exhibits attached thereto . . . so long as they are referred to in
the Complaint and are central to the claims contained therein.”).
But see Saalim v. Walmart, Inc., 97 F.4th 995, 1002-03 n.4 (6th
Cir. 2024) (citation omitted) (“[O]ur precedent dictates that we
may only consider [video evidence] when reviewing a Rule 12 motion
to the extent that the video ‘blatantly contradict[s]’ the
allegations in the complaint.”). For reasons discussed later in
this Report and Recommendation, the undersigned will not consider
the video footage in analyzing the motions to dismiss.
                                     - 2 -
  Case 2:23-cv-02193-MSN-tmp     Document 126       Filed 05/30/25   Page 3 of 67
                                 PageID 1431


Freemans’   minor   child      T.F.    (ECF   No.     1.)     Plaintiff    asserts

violations of Mr. Freeman’s constitutional rights, pursuant to 42

U.S.C. § 1983, as well as violations of the ADA. She names

defendant Fields in his individual capacity, defendant Bonner in

his individual capacity, and the County under a theory of § 1983

municipal liability.

     Plaintiff alleges the following facts in her Second Amended

Complaint, which the court must accept as true for purposes of

deciding the motions to dismiss. (ECF No. 54.) Mr. Freeman was

incarcerated at the Jail from October 1, 2022, until his death on

October 5, 2022. (ECF No. 54-1 at PageID 627-28.) Upon his arrival,

Freeman was provided a “perfunctory mental-health screening,”

which consisted of “a brief oral interview conducted by a licensed

practical   nurse   or   medical      assistant.”      (Id.    at    PageID   628.)

Plaintiff contends that this screening process “failed to diagnose

Mr. Freeman upon his arrival,” as “[Freeman’s] family believes

that he was suffering from a mental health crisis at the time of

his arrest.” (Id.)

     By the morning of October 5, a Licensed Master Social Worker

was called to assess Freeman for apparently severe symptoms of a

mental health disorder. (Id. at PageID 629.) Freeman was determined

to have “suffered from, at minimum, suicidal ideation since the

time of his incarceration on October 1, 2022,” and “required a

full psychiatric evaluation” by the on-duty jail psychiatrist.

                                      - 3 -
  Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 4 of 67
                               PageID 1432


(Id.) He was then placed on suicide watch and moved to the Jail’s

4-J Pod, which houses detainees suffering from “severe mental

health disorders.” (Id. at PageID 629, 631.) Plaintiff avers that,

“[i]n the suicide pod, Jail staff put Mr. Freeman in a cell, naked

and alone, with only a paper-like orange ‘tarp’ to cover himself.”

(Id. at PageID 630.) By the afternoon of October 5, Freeman’s

“psychiatric condition had worsened severely,” such that “[h]e was

yelling and begging for medical personnel.” (Id.) According to

Plaintiff, “[Freeman] was experiencing an obvious mental-health

crisis that the medical examiner would later determine was a

psychotic episode and a contributing factor in his death.” (Id.)

     Shortly after 4:30 p.m. on October 5, correctional deputies

Anthony Howell and Antonio Williams entered the 4-J Pod to deliver

food trays to detainees. (Id.) Before reaching Freeman’s cell,

Officers Howell and Williams delivered trays to several other

detainees, each time directing Officer Lubria Henderson, who was

controlling the cell doors at the far end of the hallway, to

“completely open” each door.2 (Id. at PageID 631.) Howell carried


2According to Plaintiff, “professional standards for the operation
of jails and prisons require [that] guards feed inmates such as
those housed in 4-Juliet through security flaps on the cell doors.
Fully opening the cell doors on this pod substantially increases
the likelihood of confrontation with inmates suffering from acute
psychosis or other destabilizing psychiatric conditions.” (ECF No.
54-1 at PageID 631.) The undersigned notes that Plaintiff, aside
from the reference to “professional standards,” does not identify
any case authority to suggest that this alleged conduct by itself
amounts to a constitutional or ADA violation.
                                  - 4 -
  Case 2:23-cv-02193-MSN-tmp    Document 126        Filed 05/30/25   Page 5 of 67
                                PageID 1433


a stack of food trays, while Williams held what Plaintiff alleges

was a can of “Freeze +P,” a highly concentrated chemical irritant

issued to Jail officers. (Id. at PageID 630.) Howell and Williams

then reached Freeman’s cell at the end of the pod hallway, where

the door was again opened completely rather than utilizing the

cell’s security flap. (Id. at PageID 631.)

       Plaintiff describes the ensuing encounter between Freeman and

the officers as follows:

       As the door rolled open, the deputy holding the can of
       mace raised and pointed it at Mr. Freeman without any
       provocation and without the need to open the cell door
       at all. . . . Holding up his orange tarp to shield
       himself from the deputy’s mace, Mr. Freeman attempted to
       swat away the mace can in the deputy’s hand. As he did
       so, Mr. Freeman exited his cell; he did not attempt to
       strike the deputy, but only to deflect the source of the
       chemical irritant. . . . As Mr. Freeman reached for the
       mace in Officer William[s’] hand, Officer Howell stepped
       toward Mr. Freeman and struck him with an overhand
       “haymaker” punch, knocking Mr. Freeman to the floor.

(Id. at PageID 631-32 (footnotes omitted).) The undersigned notes

that   the   video   evidence   submitted      by     Plaintiff      is   arguably

inconsistent with Plaintiff’s allegations that the deputy “raised

and pointed [the mace] at Mr. Freeman without any provocation” and

that Freeman “[held] up his orange tarp to shield himself” from

the mace. However, because the undersigned finds that the video

does not rise to the level of “blatantly contradict[ing] or utterly

discredit[ing]   the   complaint,”    the   undersigned          must     “rely     on

[Plaintiff’s]    allegations     in   the   pleadings          alone.”     Pop      v.


                                   - 5 -
  Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 6 of 67
                               PageID 1434


Brookfield Chrysler Dodge Jeep, Inc., No. 24-1201, 2025 WL 1010448,

at *6 (6th Cir. Apr. 2, 2025) (quoting Saalim, 97 F.4th at 1002);

see also Bell v. City of Southfield, 37 F.4th 362, 366 (6th Cir.

2022) (finding that because video evidence was “inconclusive” as

to a critical factual allegation, the court had to rely “only on

the facts in the complaint”).3

       Plaintiff alleges that Officers Howell and Williams continued

their use of force after Freeman exited his cell. Plaintiff states

that,

       in tandem, the two deputies beat and stomped Mr. Freeman
       no fewer than eighteen (18) times in the seconds before
       other officers reached the scene. . . . Watching the
       above unfold, the door operator Officer Henderson, who
       could at that point have closed the main door to the 4-
       Juliet cell pod, limiting Mr. Freeman’s access to any
       other part of the Jail, and who could have called Jail
       medical staff immediately to respond to both the
       psychotic episode and Mr. Freeman’s injuries, instead
       left the main cell-pod door open and unattended, and
       joined in the beating. The door operator sprayed enough
       chemical irritant toward Mr. Freeman that the caustic
       chemicals pooled on the floor, creating a hazard for

3The undersigned has reviewed the entire video footage submitted
by Plaintiff and has not found any additional allegations in
Plaintiff’s complaint that are “utterly discredit[ed]” by the
video. Accordingly, in making all of the proposed findings of fact
and conclusions of law here, the undersigned relies on the
allegations in Plaintiff’s complaint alone without consideration
of the video. See Saalim, 97 F.4th at 1002-03 n.4 & 1017
(Batchelder, J., concurring in part and dissenting in part)
(discussing consideration of video footage on Rule 12 motion where
video did not blatantly contradict complaint, even where plaintiff
sought to rely on the video and neither party objected to its
admissibility); see also Akima v. Peca, 85 F.4th 416, 422 (6th
Cir. 2023) (citation omitted) (reiterating same “blatantly
contradict” or “utterly discredit” standard for Rule 12 motion to
dismiss).
                                  - 6 -
     Case 2:23-cv-02193-MSN-tmp        Document 126    Filed 05/30/25     Page 7 of 67
                                       PageID 1435


        everyone in the cell pod. Officer Henderson then beat
        Mr. Freeman with the metal cannister of mace.

(ECF No. 54-1 at PageID 632-33).

        “Within seconds” after Freeman exited his cell, Plaintiff

states that several other officers clustered in the hallway of the

4-J Pod and “joined in the melee.” (Id. at PageID 633.) Plaintiff,

citing “multiple         eyewitnesses,” contends that these “included

regular correctional deputies and members of the Blackshirts, a

special Jail unit known for their physicality and rough treatment

of    detainees.”       (Id.)    She    specifically      names     Officers     Ashley

Harris,       Cedric    Scott,   Antonio     Buford,      Ebonee    Davis,     Courtney

Parham, K. Gray, and Damian Cooper, in addition to Officers Howell,

Williams, and Henderson. (Id.)

        Jail staff continued to struggle with Mr. Freeman “over the

next minute” until he ultimately exited the pod. (Id. at PageID

633-34.)       During    this    time,     Plaintiff      alleges       that   officers

“punched, kicked, and struck Mr. Freeman with various implements,”

while Freeman “tried to crawl down the hallway through pools of

oil-based irritant.” (Id. at PageID 633.) Plaintiff contends that

each     of    these    applications       of     force    was     “unwarranted      and

excessive,” as the “actions of the first two Jail deputies and the

door operator——beating Mr. Freeman and dousing him with chemical

irritant——subdued and incapacitated Mr. Freeman, [and] rendered

him non-violent and non-threatening for the rest of the encounter.”


                                          - 7 -
  Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 8 of 67
                               PageID 1436


(Id. at PageID 632.) The complaint highlights several of these

uses of force, including that:

     On camera, Officer Davis strikes Mr. Freeman with a mace
     cannister multiple times, kicks him, and douses him with
     chemical irritant; lying on the floor, [Freeman] tries
     to cling to her feet. Eyewitnesses recount that Mr.
     Freeman [was] begging for help at this time[;]

     . . .

     While Officer Davis struck Mr. Freeman as he begged for
     help at her feet, Officer Cooper repeatedly kicked Mr.
     Freeman[;]

     . . .

     Next, a Blackshirt believed to be Officer Parham4 placed
     handcuffs around his fist and struck Mr. Freeman no fewer
     than three (3) times with these makeshift brass
     knuckles[;] [and]

     . . .

     In addition to boots and fists, handcuffs, and mace
     cannisters, Jail staff struck Mr. Freeman with heavy
     rings of “door-roll keys” and sets of brass handcuff
     keys.

(Id. at PageID 633-34.)

     After managing to leave the 4-J Pod, Mr. Freeman proceeded

down an adjacent hallway of the Jail. (Id. at PageID 634.) There,

Freeman was again sprayed with irritant and subsequently “slammed


4Although criminal liability is not the focus of the instant
action, Plaintiff also writes that Officers Davis, Cooper, and
Parham have since been indicted by a Shelby County grand jury in
connection with their use of force against Mr. Freeman. (ECF No.
54-1 at PageID 633-34.) Officers Davis and Cooper were indicted
for aggravated assault in concert resulting in death, while Officer
Parham was indicted for second-degree murder and aggravated
assault in concert resulting in death. (Id.)
                                  - 8 -
  Case 2:23-cv-02193-MSN-tmp     Document 126   Filed 05/30/25   Page 9 of 67
                                 PageID 1437


. . . to the floor” by an officer who Plaintiff identifies as

Captain Michael Green.         (Id.)   Multiple officers——identified as

Officers D. Haywood, Lareko Elliott, Chelsey Duckett, Jeffrey

Gibson, Charles Gatwood, Stevon Jones, and James Perry, along with

Officers Davis, Buford, and Moore5——then “kicked [Freeman] and

doused him in more chemical irritant” as Freeman laid on the floor.6

(Id.)

     Plaintiff alleges that, “[a]fter this second melee, Jail

staff allowed or even encouraged Mr. Freeman to stumble past them

and make his way up an escalator to the fifth floor.” (Id. at

PageID 635.) Once upstairs, Mr. Freeman was “cornered” by Officers

Jones, Perry, and Lawson. (Id.) Plaintiff asserts that

     [the officers] punched, kicked, and slammed Mr. Freeman
     to the floor once again. . . . Those same correctional
     deputies quickly gained control of Mr. Freeman, who was
     still naked and now drenched in mace. They handcuffed
     his hands behind his back, then pressed him, facedown,
     against the floor. . . . Deputies held Mr. Freeman in
     the facedown position for over five minutes, with
     Officer Jones kneeling on Mr. Freeman’s back, neck, and
     head.

(Id.) Plaintiff contends that “[e]ach of these deputies knew or

should have known that placing substantial or significant pressure



5Plaintiff   does not identify Officer Moore by a first name or
initial.

6Plaintiff notes that Officers Elliott, Duckett, and Gibson were
later indicted for aggravated assault in concert resulting in
death, while Officer Jones was indicted for second-degree murder
and aggravated assault in concert resulting in death. (ECF No. 54-
1 at PageID 634.)
                                    - 9 -
 Case 2:23-cv-02193-MSN-tmp    Document 126    Filed 05/30/25    Page 10 of 67
                                PageID 1438


on Mr. Freeman’s back while he was face down and subdued was

excessive    force.”    (Id.   (citations     omitted).)    At    4:57    p.m.,

approximately half an hour after Officers Howell and Williams first

entered the 4-J Pod, a medical emergency call was made for Mr.

Freeman. (Id. at PageID 636.) Plaintiff asserts that, when medical

personnel arrived, “Mr. Freeman was blinking with a faint pulse,

but within moments his heart stopped.” (Id.) Although medical staff

attempted lifesaving measures, Mr. Freeman was pronounced dead at

5:27 p.m. (Id.)

     Following    Mr.   Freeman’s   death,     the   Tennessee     Bureau    of

Investigation (“TBI”), at the request of the Shelby County District

Attorney General, began a formal investigation into the incident.7

(Id. at PageID 637.) Plaintiff alleges that “Jail staff and other

[Shelby County Sheriff’s Office (“SCSO”)] employees interfered

with” that investigation “in at least the following ways: (a)

Giving false narrative accounts of the incident;8 (b) Telling the

TBI that no Jail detainees witnessed the incident; (c) Intimidating


7Oversightof the investigation and “prosecution of any appropriate
criminal charges” were later transferred to the Davidson County
District Attorney’s Office, which compiled and released the video
Plaintiff relies on in her complaint. (Id. at PageID 627, 637 n.
20.)
8Plaintiff specifically alleges that officers lied to medical
personnel when asked about their encounter with Freeman. (Id. at
PageID 636.) According to Plaintiff, the responding nurse’s
progress note falsely reports that Freeman “attacked security
staff” and “took [a] big can of chemical spray and [began]
spraying staff.” (Id.)

                                  - 10 -
 Case 2:23-cv-02193-MSN-tmp         Document 126     Filed 05/30/25    Page 11 of 67
                                     PageID 1439


Jail detainees who did witness the incident from reporting what

they saw to TBI agents; and (d) Withholding pertinent camera

footage from the TBI.” (Id.) However, the complaint does not

identify which officers or other Jail staff were responsible for

this alleged interference. Plaintiff also contends that, as of the

date    of   the   amended    complaint,        “County    leadership       [had]    not

terminated or otherwise meaningfully disciplined any Jail staff

who    participated      or   declined     to   intervene       in”   Mr.   Freeman’s

encounter with officers before his death. (Id.)

       2.     History of Constitutional Violations

       In    addition    to   the   factual      allegations      surrounding        Mr.

Freeman’s     death,    Plaintiff     describes      a    purported     “history      of

civil-rights violations at the Jail,” beginning with the United

States Department of Justice’s (“DOJ”) 2000 investigation into the

facility.      (See     id.   at    PageID      624.)     The    results     of     that

investigation were summarized in a letter addressed to then-Shelby

County Mayor Jim Rout, which Plaintiff attaches as Exhibit A. (Id.)

According to Plaintiff, the DOJ “directly linked [] constitutional

violations in the Jail to ‘a lack of effective oversight . . . and

the lack of supervision to prevent the staffs’ use of force

exceeding the limitations of policy.’” (Id. at PageID 624-25.)

When the Jail failed to correct these deficiencies, the DOJ sued

the County. (Id. at PageID 625.) That lawsuit resulted in a

Settlement     Agreement      aimed   at   improving       certain     policies      and

                                       - 11 -
 Case 2:23-cv-02193-MSN-tmp     Document 126      Filed 05/30/25     Page 12 of 67
                                 PageID 1440


customs at the Jail, including “an effective system for the prompt

discipline of staff who violate its use-of-force policies.” (Id.)

Plaintiff contends that, while “[c]onditions at the Jail improved

for   several     years[,]”    the    Jail’s      “policies        and   customs——

accompanied by increased violations of inmates’ constitutional

rights——have returned to pre-Settlement-Agreement norms.” (Id.)

      Plaintiff     further     alleges        that   the     defendants,       and

specifically Bonner, have impeded attempts to remedy the Jail’s

unconstitutional practices since at least 2020. (See id. at PageID

640-43.)   For    example,    Plaintiff   claims      that    Bonner     “actively

resisted” an ordinance proposed by the Shelby County Commission in

2020 to disqualify applicants with histories of excessive force

from obtaining Public Safety positions with the SCSO. (Id. at

PageID 640.)      In addition to testifying in opposition to the

ordinance, Bonner allegedly “misrepresented” that the SCSO seeks

law enforcement decertification “any time a deputy is terminated

for a determination of excessive force”——a claim that Plaintiff

contends is false. (Id.) Plaintiff also cites other examples of

defendants’ conduct prior to Freeman’s death that she argues

“demonstrates the County’s awareness of the sorts of policies,

customs,   and    practices    likely     to    deprive      inmates     of   their

constitutional rights.” (See id. at PageID 624, 639-43.) These

include: (1) that, “[b]etween June 2018 and September 2021, the

County saw thirty-two (32) substantiated violations of the SCSO’s

                                     - 12 -
 Case 2:23-cv-02193-MSN-tmp     Document 126    Filed 05/30/25     Page 13 of 67
                                 PageID 1441


excessive or unwarranted force policies in the Jail,” only one of

which resulted in an officer’s termination,9 (id. at PageID 639);

(2) that the County does not maintain a central recordkeeping

system for violations of its use-of-force policies, (id. at PageID

641); (3) that the County’s “duty to intervene” policy adopted in

June 2020 “exist[s] in name only” because the County “never trained

Jail staff to implement the policy, never gave them written

information about the policy, and never advised them of any

consequences for violating the policy,” (id.); and (4) that, in

response to inmate protests during the COVID-19 pandemic, Chief

Jailer    Fields   “personally    ordered      that    his   deputies     deploy

numerous cans of Freeze +P” rather than disperse inmates through

“lawful methods of restraint such as handcuffs and physically

moving inmates,” (id. at PageID 642).

B.   Procedural History

     1.     Plaintiff’s Claims

     Plaintiff, proceeding as the wrongful death beneficiary of

Mr. Freeman and as next friend to the minor child T.F., filed her

original   complaint   on     April   4,   2023.      (ECF   No.   1.)   Without

objection, Plaintiff filed a First Amended Complaint on June 14,

2023, followed by a Second Amended Complaint on October 30, 2023.




9Plaintiff, citing Federal Rule of Evidence 1006, summarizes these
violations in a chart attached as Exhibit D to the Second Amended
Complaint. (ECF No. 54-5.)
                                   - 13 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25    Page 14 of 67
                               PageID 1442


(ECF Nos. 39, 54.) In each, she names defendant Bonner in his

individual capacity, defendant Fields in his individual capacity,

and the Government of Shelby County. (See ECF Nos. 1, 39, 54-1.)

       Against Bonner and Fields, Plaintiff asserts one count each

of supervisory liability under 42 U.S.C. § 1983. (ECF No. 54-1 at

PageID 648-55.) She alleges that both Bonner and Fields——as the

head of the SCSO and as the County’s Chief Jailer, respectively——

“had    a   non-delegable   duty   and   responsibility       to   formulate,

oversee, and implement official policies, practices, customs, and

procedures of and for” the SCSO and the Jail. (Id. at PageID 648,

652.) Plaintiff also contends that, “[l]ong before and at all times

pertinent to the events above,” Bonner and Fields knew that:

       (a) The perfunctory mental health screenings provided to
       detainees upon arrival at the Jail were inadequate to
       identify inmates with psychological and psychiatric
       problems despite their outsize prevalence among the Jail
       population and that a more robust screening process
       would provide adequate protection;

       (b) The County’s official policy of confining the
       provision of emergency medical care to outside medical
       staff, rather than SCSO Jail staff, was resulting in a
       failure to provide necessary medical care in the initial
       minutes of medical emergencies (i.e., before medical
       staff could arrive);

       (c) In a clear and persistent pattern, the Blackshirts
       and other Jail staff regularly used excessive force
       against inmates;

       (d) In a clear and persistent pattern, the Blackshirts
       and other Jail staff regularly violated mental-health
       and other Jail medical protocols;



                                   - 14 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 15 of 67
                               PageID 1443


     (e) In a clear and persistent pattern, the Blackshirts
     and other Jail staff regularly inflicted pain and
     punishment on inmates experiencing mental-health crises
     as a means of compelling submission and compliance;

     (f) The County’s policy or custom of deploying chemical
     weapons for unconstitutional purposes;

     (g) The Jail lacked appropriate policies, procedures, or
     training to prevent the use of excessive or unlawful
     force by correctional officers in the Jail despite
     awareness of a clear and persistent pattern of such
     conduct;

     (h) The Jail lacked appropriate policies, procedures, or
     training to ensure correctional officers’ compliance
     with mental-health and other Jail medical protocols,
     despite a clear and persistent pattern of violations of
     these protocols by Jail staff; and

     (i) The use of the Blackshirts to fill Jail staffing
     shortages, despite these officers’ well-known and well-
     documented pattern of using excessive force against
     detainees was resulting in more excessive force
     incidents   than  would   have   occurred  if   regular
     correctional deputies staffed these positions.

(Id. at PageID 648-49, 652-53.) Despite this knowledge, and despite

Bonner’s and Fields’ aforementioned duties, Plaintiff alleges that

Bonner and Fields failed to properly train or supervise subordinate

Jail staff regarding proper “use of force, mental-health[,] and

other medical protocols.” (Id. at PageID 652, 655.) According to

Plaintiff, that failure to train or supervise not only “amounted

to deliberate indifference and disregard for the constitutional

rights of detainees like Mr. Freeman,” but also “directly and

proximately caused Mr. Freeman’s injuries and death.” (Id.)




                                 - 15 -
 Case 2:23-cv-02193-MSN-tmp    Document 126      Filed 05/30/25   Page 16 of 67
                                PageID 1444


      Against the County, Plaintiff asserts a claim of municipal

liability under 42 U.S.C. § 1983. She alleges that, through the

“official acts and omissions of its policymakers . . . [including]

Sheriff Bonner, Chief Fields, the SCSO’s Assistant Director of

Jail Programs, and various other[s],” the County “enacted policies

and   tolerated   practices    and     customs      that   were   deliberately

indifferent to, and caused the violation of[,] Mr. Freeman’s

constitutional    rights.”    (Id.    at   PageID    645.)   These    policies,

customs, and practices included, but were not limited to:

      (a) The County’s official policy of providing detainees
      only perfunctory mental-health screenings upon arrival
      to the Jail;

      (b) The County’s official policy of confining the
      provision of emergency medical care to outside medical
      staff;

      (c) The County’s unwritten custom and practice of
      tolerating instances of excessive force by Jail staff
      against inmates;

      (d) The County’s unwritten custom and practice of
      tolerating violations of mental-health and other Jail
      medical protocols;

      (e) The County’s tacit encouragement of Jail staff who
      inflicted pain and punishment on inmates experiencing
      mental-health crises as a means of compelling submission
      and compliance;

      (f) The County’s policy or custom of deploying chemical
      weapons for unconstitutional purposes;

      (g) The County’s refusal to promulgate appropriate
      policies or procedures, or to take other measures, to
      prevent the use of unwarranted or excessive force by
      Jail staff despite awareness of a clear and persistent
      pattern of such conduct;

                                     - 16 -
 Case 2:23-cv-02193-MSN-tmp   Document 126     Filed 05/30/25   Page 17 of 67
                               PageID 1445




     (h) The County’s decision not to adequately train and
     supervise subordinate correctional officers in the
     appropriate use of force in the Jail, despite a clear
     and persistent pattern of excessive-force violations;

     (i) The County’s decision not to promulgate appropriate
     policies or procedures, or to take other measures, to
     ensure correctional officers’ compliance with mental
     health and other Jail medical protocols, despite a clear
     and persistent pattern of violations of these protocols
     by Jail staff;

     (j) The County’s failure to adequately train or
     supervise subordinate officers in the importance of
     following   mental-health   and  other   Jail   medical
     protocols, despite a clear and persistent pattern of
     violations of these protocols by Jail staff; and

     (k) The County’s continued reliance on members of the
     Blackshirts to fill Jail staffing shortages, despite
     these officers’ well-known and well-documented pattern
     of using unwarranted and excessive force against
     detainees.

(Id. at PageID 645-46.) Plaintiff also contends that the County

“ratified” the actions of Jail staff who allegedly caused Mr.

Freeman’s    death   by   failing   “to      investigate,       or   to   take

administrative action against, the officers involved.” (Id. at

PageID 646.) This ratification, according to Plaintiff, was just

one example of the County’s “demonstrated pattern of inadequately

investigating similar incidents” and “supports the inference that

Mr. Freeman’s death resulted from policy decisions attributable to

the County.” (Id.)10


10AlthoughPlaintiff does not cite to the exhibit, her mention of
a “demonstrated pattern” is seemingly in reference to Exhibit D,
Plaintiff’s Rule 1006 Summary of excessive force incidents at the
                                 - 17 -
 Case 2:23-cv-02193-MSN-tmp     Document 126       Filed 05/30/25   Page 18 of 67
                                 PageID 1446


      Plaintiff additionally charges the County with violating

Title II of the ADA. That statute generally prohibits public

entities from discriminating against persons with a qualifying

disability or excluding them from participating in or obtaining

the   entity’s   services.     See   28   C.F.R.     §   35.130(a).       Plaintiff

contends that, because Mr. Freeman suffered from a mental health

condition that “substantially limited one or more major life

activity,” he was considered to have a disability under the ADA.11

(ECF No. 54-1 at PageID 656.) Accordingly, Plaintiff argues that

“Jail staff discriminated against Mr. Freeman on the basis of his

disability when they responded to his symptoms of acute psychosis,

attributable     to   his   disability,    with    gratuitous       and   punitive

violence.” (Id. at PageID 657.) She further alleges that the County

violated ADA requirements by inadequately investing in mental-

health resources for the Jail and failing to properly train staff

responsible for overseeing the mental-health pod. (Id.) Plaintiff

specifically claims that

      The County subjected Mr. Freeman to discrimination on
      the basis of his disability in violation of 34 C.F.R. §


Jail between June 2018 and September 2021. (See ECF No. 54-5.)

11Plaintiff does not specify what mental health condition she
believes Mr. Freeman suffered from, instead referring generally to
his “mental health disabilit[y].” (See ECF No. 54-1 at PageID 656-
57.) However, Plaintiff does offer symptoms——including acute
psychosis, suicidal ideation, and selective mutism——that she
argues “derived from” Mr. Freeman’s disability and were evident
during his incarceration from October 1 to October 5, 2022. (Id.
at PageID 629, 657.)
                                     - 18 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25    Page 19 of 67
                               PageID 1447


     104.4(b)(4) by operating a mental-health pod that lacked
     adequate mental-health staff and utilized Jail staff
     with no medical training, who were ignorant of de-
     escalation techniques, to manage inmates experiencing
     acute psychosis and other mental health conditions.

(Id. at PageID 657-58.)

     Finally, Plaintiff asserts two state-law claims against the

County:   the   first   a   negligence    charge   under      the   Tennessee

Governmental Tort Liability Act (“TGTLA”), and the second a loss

of consortium claim on behalf of herself and the Freemans’ minor

child. (Id. at PageID 658-59.) However, in Plaintiff’s July 30,

2024 response to the County’s motion to dismiss, Plaintiff states

that she has chosen to “withdraw[] her pendant causes of action

under Tennessee tort law and proceed[] forward solely on her

federal claims under 42 U.S.C. § 1983 and the ADA.” (ECF No. 109

at PageID 1364-65.) The court accordingly confines its analysis

below only to Plaintiff’s federal law claims against the County.

     2.   Motions to Dismiss

     After Plaintiff filed her Second Amended Complaint, all three

defendants moved to dismiss under Federal Rule of Civil Procedure

12(b)(6). (ECF Nos. 57, 58, 60.) Plaintiff responded in opposition

to each motion on July 30, 2024. (ECF Nos. 106, 108, 109.) Fields

filed a reply on August 12, 2024, followed by Bonner’s and the

County’s replies on August 13, 2024. (ECF Nos. 110, 111, 112.)

These motions were referred to the undersigned on October 11, 2024.

(ECF No. 115.)

                                 - 19 -
 Case 2:23-cv-02193-MSN-tmp   Document 126    Filed 05/30/25   Page 20 of 67
                               PageID 1448


     In his motion to dismiss, filed on November 10, 2023, Fields

first argues that Plaintiff’s complaint is “devoid of the necessary

facts and essential elements to support a supervisory claim” under

§ 1983. (ECF No. 57-1 at PageID 719.) He specifically contends

that Plaintiff has failed to allege that Fields personally engaged

in unconstitutional behavior or that Fields’ conduct caused or

contributed to the rights violations Plaintiff asserts. (See id.

at PageID 723-27.) Fields also raises the affirmative defense of

qualified   immunity.   Relying    on   the   Supreme   Court’s     two-step

qualified immunity analysis in Saucier v. Katz, 533 U.S. 194

(2001), he contends that Plaintiff has not alleged that Fields’

own conduct violated a constitutional right or that this right was

“clearly established” at the time of the violation. (Id. at PageID

729-30.)

     Bonner likewise asserts that he is entitled to qualified

immunity in his motion to dismiss, filed on November 14, 2023.

(ECF No. 60.) Relying primarily on the Sixth Circuit’s qualified

immunity analysis in Peatross v. City of Memphis, 818 F.3d 233

(6th Cir. 2016), Bonner argues that “[t]he Second Amended Complaint

fails to state a claim against [him] for any constitutional

violation based on a theory of supervisory liability.” (ECF No.

60-1 at PageID 764, 766.) In support, he asserts that Plaintiff’s

allegations “do not rise to the level of implicit authorization,

approval, or knowing[] acquiescence” by Bonner of Jail staff’s

                                  - 20 -
 Case 2:23-cv-02193-MSN-tmp       Document 126     Filed 05/30/25   Page 21 of 67
                                   PageID 1449


allegedly    unconstitutional       conduct;      that     Plaintiff   failed   to

causally link Mr. Freeman’s death to Bonner’s alleged acts and

omissions;    and     that    Plaintiff’s      arguments    regarding    Bonner’s

alleged ratification of his subordinates’ conduct are inapplicable

because Bonner is sued in his individual capacity. (Id. at PageID

768-76.)     Bonner    also    appears     to    question     the   veracity    of

Plaintiff’s Fourteenth Amendment excessive force claim, writing

that “reasonable minds can differ about whether the force in this

case was excessive or warranted.” (Id. at PageID 777.)

     Lastly, the County filed its motion to dismiss on November

10, 2023, seeking to dismiss Plaintiff’s § 1983, ADA, and state

law claims against it. (ECF No. 58-1 at PageID 739.) The County

contends    that    Plaintiff     has    not    provided    sufficient    factual

support for her ADA or § 1983 municipal liability claims, instead

relying on “highly generalized conclusions,” a “sensationalized

version of events,” and “formulaic recitations” of the elements of

her claims. (Id. at PageID 747, 753-54.) It also argues that

Plaintiff lacks standing to bring her ADA claim because she “lacks

the personal connection to the alleged violations and the prospect

of any future harm as the result of those same violations.” (Id.

at PageID 750-51.)

                      II.    PROPOSED CONCLUSIONS OF LAW

A.   Standard of Review

     To state a claim for relief, Federal Rule of Civil Procedure

                                     - 21 -
    Case 2:23-cv-02193-MSN-tmp    Document 126      Filed 05/30/25    Page 22 of 67
                                   PageID 1450


8   requires    that   a   pleading   only     contain    “a   short       and   plain

statement of the claim.” Fed. R. Civ. P. 8(a)(2). However, to

survive     a   Rule   12(b)(6)    motion      to   dismiss,      “[t]he     factual

allegations in the complaint need to be sufficient to give notice

to the defendant as to what claims are alleged, and the plaintiff

must plead ‘sufficient factual matter’ to render the legal claim

plausible, i.e., more than merely possible.” Fritz v. Charter Twp.

of Comstock, 592 F.3d 718, 722 (6th Cir. 2010) (quoting Ashcroft

v. Iqbal, 556 U.S. 662, 677 (2009)). “The plausibility standard is

not akin to a ‘probability requirement,’ but it asks for more than

a sheer possibility that a defendant has acted unlawfully.” Iqbal,

556 U.S. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

557 (2007)). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.”

Id. To satisfy this requirement, a plaintiff must plead more than

“labels and conclusions,” “a formulaic recitation of the elements

of a cause of action,” or “‘naked assertions’ devoid of ‘further

factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 555, 557)

(alteration omitted). The court must nevertheless “construe [the]

complaint in the light most favorable to [the plaintiff], accept

[plaintiff’s]     well-pleaded     allegations       as   true,      and    draw   all

reasonable inferences in [plaintiff’s] favor.” Davis v. Butler

Cnty., 658 F. App’x 208, 213 (6th Cir. 2016).

                                      - 22 -
 Case 2:23-cv-02193-MSN-tmp     Document 126     Filed 05/30/25    Page 23 of 67
                                 PageID 1451


B.   Fields’ and Bonner’s Motions to Dismiss

     The court begins its analysis with Plaintiff’s § 1983 claims

 against Fields and Bonner. Plaintiff names Fields and Bonner in

 their individual capacities, alleging that each is responsible

 under a theory of supervisory liability for violations of Mr.

 Freeman’s Fourteenth Amendment rights. (ECF No. 54-1 at PageID

 644.) Although not clearly delineated in the complaint, Plaintiff

 appears to separate these Fourteenth Amendment violations into

 two categories: first, that Jail officers used excessive force in

 their encounter with Mr. Freeman, and second, that Mr. Freeman

 was deprived of his right to adequate medical care based on the

 Jail’s deficient protocols. (See id. at PageID 645-46, 648-49,

 652-53 (listing allegations against each defendant).)

     Unlike    official      capacity   claims,    which     are    treated    as

“essentially    a    claim    against   [a]    municipality,”        individual

capacity claims “seek[] to hold an official personally liable for

the wrong alleged.” Peatross, 818 F.3d at 241 (citing Essex v.

City of Livingston, 518 F. App’x 351, 357 (6th Cir. 2013)). “[T]o

establish personal liability in a § 1983 action, it is enough to

show that the official, acting under color of state law, caused

the deprivation of a federal right[.]” Id. (quoting Leach v. Shelby

Cnty. Sheriff, 891 F.2d 1241, 1245 (6th Cir. 1989)) (emphasis in

original).    This   causal    connection     “requires    an     allegation   of



                                   - 23 -
 Case 2:23-cv-02193-MSN-tmp       Document 126        Filed 05/30/25     Page 24 of 67
                                   PageID 1452


personal liability.” Venema v. West, 133 F.4th 625, 633 (6th Cir.

2025).

       Thus, for an individual capacity claim based on supervisory

liability,       the        plaintiff         must    “allege          ‘some      active

unconstitutional behavior on the part of the supervisor’ . . .

that is ‘directly correlated with the [constitutional] injury.’”

Id. (first quoting Peatross, 818 F.3d at 214; and then Essex, 518

F. App’x at 355). A supervisor cannot be held liable under § 1983

“‘simply      because      . . . [they    were]      charged    with      overseeing’

subordinate officers who violated the plaintiff’s constitutional

rights.” Id. (quoting Peatross, 818 F.3d at 241). However, a

supervisor may be found liable for a failure to supervise, control

or train an offending officer if that supervisor “either encouraged

the specific incident of misconduct or in some other way directly

participated in it.” Peatross, 818 F.3d at 242 (quoting Shehee v.

Luttrell, 199 F.3d 295, 300 (6th Cir. 1999)) (alteration in

original); see also Venema, 133 F.4th at 633 (adopting same rule

from Shehee). The Sixth Circuit has “interpreted this standard to

mean   that    ‘at   a     minimum,’    the    plaintiff    must       show    that   the

defendant ‘at least implicitly authorized, approved, or knowingly

acquiesced     in    the    unconstitutional         conduct    of     the     offending

officers.’” Peatross, 818 F.3d at 242 (quoting Shehee, 199 F.3d at

300); see also Venema, 133 F.4th at 633-36 (applying knowing

acquiescence standard). In addition, the Sixth Circuit has found

                                        - 24 -
 Case 2:23-cv-02193-MSN-tmp   Document 126     Filed 05/30/25    Page 25 of 67
                               PageID 1453


that a plaintiff may establish the requisite causal connection

where   “the   supervisor’s   conduct,    or   lack   thereof,      ‘could   be

reasonably expected to give rise to just the sort of injuries’

that a plaintiff alleges have occurred.” Venema, 133 F.4th at 633

(quoting Campbell v. City of Springboro, 700 F.3d 779, 790 (6th

Cir. 2012)).

     In their motions to dismiss, Fields and Bonner both argue

that Plaintiff has not plausibly alleged any personal, active

conduct   to    connect   them   to   the      purported        constitutional

violations. Fields and Bonner assert that Plaintiff has, at best,

pleaded claims sounding in negligence, which cannot form the basis

of recovery under § 1983. (ECF No. 57-1 at PageID 724; 60-1 at

PageID 772.) Fields further argues that Plaintiff’s list of factual

allegations that Fields purportedly “knew,” and yet failed to

correct or properly investigate, (see ECF No. 54-1 at PageID 652-

53), are little more than “generalizations and conclusions” for

which Plaintiff has “tender[ed] no factual support whatsoever as

[they] relate[] to Chief Fields,” (ECF No. 57-1 at PageID 726-27).

For example, Fields contends that Plaintiff “does not identify

what policies were inappropriate, what policies the Jail should

have adopted, or what training was not done.” (ECF No. 57-1 at

PageID 727.) Bonner likewise argues that Plaintiff “has not . . .

plausibly alleged that Sheriff Bonner was sufficiently aware of

prior incidents identified by Plaintiff such that he was on notice

                                 - 25 -
 Case 2:23-cv-02193-MSN-tmp    Document 126       Filed 05/30/25   Page 26 of 67
                                PageID 1454


of the need to take ameliorative action” and thus may be liable

under a “failure to act” theory. (ECF No. 60-1 at PageID 768-70.)

Bonner also takes aim at Plaintiff’s “Rule 1006 Summary” of prior

excessive force incidents at the Jail. He argues that the summary

not only “reflects no other incident similar to the event involving

Mr. Freeman,” but also fails to establish that Bonner “was aware

of the prior discipline of the specific officers referenced in the

Complaint” such that Plaintiff can causally connect Mr. Freeman’s

injuries to Bonner’s supposedly inadequate supervision. (Id. at

PageID 773-74.)

     In addition to Plaintiff’s purported failure to state a claim,

Fields and Bonner move to dismiss on the basis of qualified

immunity. In the context of § 1983 liability, “the doctrine of

qualified immunity shields officials from liability ‘insofar as

their      conduct            does        not            violate         clearly

established . . . constitutional         rights     of   which     a   reasonable

person would have known.’” Peatross, 818 F.3d at 240 (quoting

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Qualified immunity

is an affirmative defense and, if applicable, protects officials

“from the cost and burdens of suit, including discovery.” Crawford

v. Tilley, 15 F.4th 752, 764 (6th Cir. 2021) (citing Mitchell v.

Forsyth, 472 U.S. 511, 526 (1985)). Thus, while an analysis under

Rule 12(b)(6) typically focuses on the sufficiency of a complaint,

not potential defenses to the claims, “dismissal nevertheless is

                                     - 26 -
 Case 2:23-cv-02193-MSN-tmp          Document 126     Filed 05/30/25       Page 27 of 67
                                      PageID 1455


appropriate   when   the      defendant        is   entitled    to     a    meritorious

affirmative defense such as qualified immunity.” Venema, 133 F.4th

at 632 (quoting Peatross, 818 F.3d at 240). Although a defendant

ordinarily bears the burden of proof for an affirmative defense,

the plaintiff bears the burden of overcoming a claim of qualified

immunity. Crawford, 15 F.4th at 760 (citing Mitchell, 472 U.S. at

526); Johnson v. Moseley, 790 F.3d 649, 653 (6th Cir. 2015)

(citation omitted).

     To determine whether an official is entitled to qualified

immunity, courts conduct a two-step inquiry. “[F]irst, viewing the

facts in the light most favorable to the plaintiff, do the facts

alleged show that the officer’s conduct violated a constitutional

right?” Venema, 133 F.4th at 632 (quoting Peatross, 818 F.3d at

240). The Sixth Circuit has recognized that this step——asking

whether   there   was     a    violation       of    a   constitutional          right——

“resembles the Rule 12(b)(6) question [of whether] the plaintiff

[has]   pleaded   facts       that     state    a   claim    for     relief      in   the

complaint[.]” Crawford, 15 F.4th at 764. To state a claim of §

1983 supervisory liability and satisfy the first prong of qualified

immunity, a complaint must therefore clear three hurdles:

     First, [the plaintiff] must allege that someone [the
     supervisor defendant] oversees violated [the victim’s]
     constitutional rights. Second, she must allege ‘active
     unconstitutional behavior’ by [the defendant]. And
     third, she must allege that the ‘active unconstitutional
     behavior was both a cause in fact and a proximate cause
     of the violation of [the victim’s] rights.

                                        - 27 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 28 of 67
                               PageID 1456




Id. at 766.

     The second prong of the qualified immunity analysis asks

whether a constitutional right was “clearly established” at the

time of the alleged violation. Venema, 133 F.4th at 632 (quoting

Peatross, 818 F.3d at 240). In other words, at the time of the

officer’s conduct, was the law “‘sufficiently clear’ that every

‘reasonable official would’ have understood they were violating a

constitutional or statutory right[?]” Akima, 85 F.4th at 423

(quoting District of Columbia v. Wesby, 583 U.S. 48, 63 (2018)).

Where a complaint alleges supervisory liability, the plaintiff

“need only show that the right that [subordinate officers] violated

was clearly established at the time of the violation.” Peatross,

818 F.3d at 245 (citing Coley v. Lucas Cnty., 799 F.3d 530, 539-

41 (6th Cir. 2015)). Courts have discretion to determine which

prong of the qualified immunity inquiry to consider first. Venema,

133 F.4th at 632.

     Although   dismissal     is   appropriate   when    a    defendant   is

entitled to qualified immunity, the Sixth Circuit has cautioned

that “[i]t is preferable to resolve the ‘threshold question’ of a

government officer’s entitlement to qualified immunity at ‘summary

judgment[,] . . . not dismissal under Rule 12.’” Id. (quoting Hart

v. Hillsdale Cnty., 973 F.3d 627, 635 (6th Cir. 2020)) (alterations

in original). This is because “development of the factual record”


                                   - 28 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 29 of 67
                               PageID 1457


beyond the pleadings stage “is frequently necessary to decide

whether the official’s actions violated clearly established law.”

Id. (quoting Hart, 973 F.3d at 635).

     1.    Excessive Force Claim

           a.   Constitutional Violation Prong

     Because Mr. Freeman was a pretrial detainee during the events

at issue, the Fourteenth Amendment’s Due Process Clause is the

“proper   starting   point”   for   Plaintiff’s   excessive     force    and

inadequate medical care claims. See Griffith v. Franklin Cnty.,

975 F.3d 554, 566 (6th Cir. 2020) (quoting Winkler v. Madison

Cnty., 893 F.3d 877, 890 (6th Cir. 2018)) (inadequate medical

care); Coley, 799 F.3d at 538 (excessive force). To state a

Fourteenth Amendment excessive force claim, Plaintiff must allege

“that the force purposely or knowingly used against [Mr. Freeman]

was objectively unreasonable.” Coley, 799 F.3d at 538 (quoting

Kingsley v. Hendrickson, 576 U.S. 389, 396-97 (2015)). Whether

officers’ force was objectively unreasonable is a “highly fact-

dependent” inquiry and must take into account several factors,

including: “legitimate interests that stem from [the government's]

need to manage the facility in which the individual is detained”;

“the extent of the plaintiff's injury; any effort made by the

officer to temper or to limit the amount of force; the severity of

the security problem at issue; the threat reasonably perceived by

the officer; and whether the plaintiff was actively resisting.”

                                 - 29 -
 Case 2:23-cv-02193-MSN-tmp       Document 126     Filed 05/30/25   Page 30 of 67
                                   PageID 1458


Id. (quoting Kingsley, 576 U.S. at 397) (internal quotation marks

omitted).

     The undersigned finds that Plaintiff has pleaded sufficient

facts to plausibly allege her Fourteenth Amendment excessive force

claims. She offers several descriptions of force used by Jail

officers    that,     when    viewed    in   the   light    most    favorable   to

Plaintiff, were objectively unreasonable under the circumstances.

For example, Plaintiff contends that officers “beat and stomped

Mr. Freeman no fewer than eighteen (18) times,” sprayed him with

so much chemical irritant that it “pooled on the floor,” and “then

beat Mr. Freeman with the metal cannister of mace” within seconds

after he escaped from his cell. (ECF No. 54-1 at PageID 632.) These

actions, according to Plaintiff, “subdued and incapacitated Mr.

Freeman” such that “all subsequent applications of force to Mr.

Freeman [were] unwarranted and excessive.” (Id.) Plaintiff then

identifies at least fourteen other officers who, over several

minutes,    joined     in     punching,      kicking,   pepper-spraying,        and

striking Mr. Freeman with handcuffs and metal canisters. (Id. at

PageID     633-35.)     Mr.     Freeman——still      naked     and    purportedly

experiencing psychosis——was then handcuffed and placed facedown,

with an officer “kneeling on [his] back, neck, and head” for over

five minutes. (Id. at PageID 635.) The undersigned finds that the

totality    of   Plaintiff’s      factual     allegations,     taken    as   true,



                                       - 30 -
  Case 2:23-cv-02193-MSN-tmp   Document 126    Filed 05/30/25     Page 31 of 67
                                PageID 1459


establish plausible violations of Freeman’s Fourteenth Amendment

rights.12

        The undersigned next finds that Plaintiff has sufficiently

pleaded that Fields and Bonner, at a minimum, knowingly acquiesced

to   subordinate   officers’   excessive      use   of    force   against    Mr.

Freeman.    In   reaching   this   conclusion,      the   undersigned      finds

instructive the Sixth Circuit’s recent decision in Venema v. West.

In Venema, the court considered a claim of supervisory liability

against defendant Jodi DeAngelo, the Warden of Michigan’s Woodland

Center Correctional Facility (“WCC”) at the time of inmate Tyler

Venema’s suicide. 133 F.4th at 628. Venema’s estate alleged that,

despite a well-documented history of Venema’s mental illness and

past suicide attempts, correctional officers left Venema with a

plastic bag that he ultimately used to asphyxiate himself. Id. at

629-30. The estate charged the two officers involved, along with

their supervisor DeAngelo, with recklessly disregarding Venema’s

“serious risk of harm” in violation of his Eighth Amendment rights.

Id. at 630. As to Warden DeAngelo specifically, the estate alleged

three theories of supervisory liability: first, that DeAngelo


12The court recognizes that Bonner (and the County) makes several
arguments regarding Plaintiff’s purported mischaracterization of
the events depicted in the video compilation. (See ECF No. 60-1 at
PageID 777-80.) However, because the undersigned has found that
the video does not blatantly contradict Plaintiff’s allegations,
the undersigned must rely on the allegations in Plaintiff’s
complaint alone without consideration of the video or Bonner’s own
interpretation of it. See supra notes 1, 3.
                                   - 31 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 32 of 67
                               PageID 1460


implicitly authorized, approved, or knowingly acquiesced in the

unconstitutional conduct of the subordinate officers; second, that

DeAngelo “personally failed to properly train and supervise WCC

corrections officers,” including the officers who gave Venema the

plastic bag; and third, that DeAngelo “knowingly disregarded the

consequences of deficient training and supervision, ‘show[ing] a

complete disregard’ as to ‘whether the corrections officers at

[WCC] would violate the inmates’ rights to be free from serious

risks of harm’ foreseeably caused by the provision of plastic bags

to suicidal prisoners.” Id. (quoting the record) (alterations in

original). Like Fields and Bonner here, DeAngelo moved to dismiss

the complaint, asserting qualified immunity and arguing that the

estate’s allegations were insufficient to establish her personal

involvement. Id. at 631.

     Applying Sixth Circuit precedent from Peatross v. City of

Memphis and Coley v. Lucas County, the court disagreed. It found

that the estate “[had] plausibly alleged that DeAngelo at least

knowingly acquiesced in [subordinate officers’] conduct under the

precedent established in Peatross and Coley.” Id. at 634. The Court

explained:

     [A]ll Peatross and Coley suggest is that a plaintiff
     must plead a supervisor's knowledge of subordinates’
     constitutional violations in order to hold that
     supervisor liable for implicit authorization, approval,
     or knowing acquiescence in those violations. . . . In
     this case, the Estate has directly alleged, and DeAngelo
     has conceded for purposes of this appeal, her knowledge

                                 - 32 -
 Case 2:23-cv-02193-MSN-tmp          Document 126    Filed 05/30/25       Page 33 of 67
                                      PageID 1461


       that “corrections officers at [WCC] were providing
       plastic bags to inmates at risk of suicide or self-harm”
       and “callously refraining from removing the plastic bags
       from the cells of inmates at risk of suicide or self-
       harm.” . . . Because DeAngelo must accept the well-
       pleaded allegations that she knew that officers were
       flouting policy by leaving plastic bags with at-risk
       prisoners, and that she failed to train and supervise
       the officers to not do so, the Complaint states a
       plausible claim that DeAngelo was liable as a supervisor
       for the officers’ constitutional violations.

Id. at 634-35 (first citing Coley, 799 F.3d at 542; and then

quoting to the record). The court found additional support in the

estate’s allegations that DeAngelo “had sweeping control over

WCC,” “was effectively solely responsible for WCC policy,” and had

a “responsibility to oversee all aspects of WCC and ensure staff

conformance      with    facility      policy.”     Id.    at    635.     These    facts

bolstered   the    estate’s     contention        that    DeAngelo      “had    ‘actual

knowledge of a breakdown in the proper workings of’ WCC,” id. at

635 (quoting Winkler, 893 F.3d at 898), and accordingly “abandoned

her responsibility to maintain and enforce facility policy” by

failing to prevent officers from providing contraband to at-risk

prisoners, id. at 635-36.

       As in Venema, Plaintiff’s Second Amended Complaint alleges

that    Fields     and      Bonner     exerted      significant         control      and

responsibility       over    the     Jail.   Plaintiff          asserts     that    each

defendant    “owed      a   non-delegable        duty     and    responsibility       to

formulate, oversee, and implement official policies, practices,

customs, and procedures” for the Jail, and in Bonner’s case, for

                                        - 33 -
 Case 2:23-cv-02193-MSN-tmp   Document 126    Filed 05/30/25    Page 34 of 67
                               PageID 1462


the entire SCSO. (ECF No. 54-1 at PageID 648, 652.) She also

alleges   that   Fields   and   Bonner,      through    their     leadership

positions, had the ability to take ameliorative action to address

Jail officers’ pattern of unconstitutional excessive force. (See

id. at PageID 649, 653-54.) For example, Plaintiff contends that

Fields and Bonner had the power to “create new procedures requiring

internal investigators to refer all confirmed cases of excessive

force to prosecutors for review” or to “order remedial use of force

training for each deputy at the Shelby County training facility.”

(Id.)

     Moreover, Plaintiff has expressly alleged that Fields and

Bonner had knowledge of subordinate Jail officers’ pattern of

excessive force violations. She explicitly asserts that “[l]ong

before and at all times pertinent to the events” in the complaint,

Fields and Bonner both “knew” that:

     (c) In a clear and persistent pattern, the Blackshirts
     and other Jail staff regularly used excessive force
     against inmates;

     . . .

     (e) In a clear and persistent pattern, the Blackshirts
     and other Jail staff regularly inflicted pain and
     punishment on inmates experiencing mental-health crises
     as a means of compelling submission and compliance;

     (f) The County[] [had a] policy or custom of deploying
     chemical weapons for unconstitutional purposes;

     (g) The Jail lacked appropriate policies, procedures, or
     training to prevent the use of excessive or unlawful
     force by correctional officers in the Jail despite

                                 - 34 -
 Case 2:23-cv-02193-MSN-tmp     Document 126        Filed 05/30/25    Page 35 of 67
                                 PageID 1463


      awareness of a clear and persistent pattern of such
      conduct; [and]

      . . .

      (i) The use of the Blackshirts to fill Jail staffing
      shortages, despite these officers’ well-known and well-
      documented pattern of using excessive force against
      detainees was resulting in more excessive force
      incidents   than  would   have   occurred  if   regular
      correctional deputies staffed these positions.

(ECF No. 54-1 at PageID 648-49, 652-53.) These allegations are

further bolstered by Plaintiff’s “Rule 1006 Summary,” in which she

highlights thirty-two purportedly substantiated cases of excessive

force by Jail officers between June 2018 and September 2021. (See

ECF   No.   54-5.)   Because    Fields       and    Bonner     have    held    their

supervisory positions “since 2018,” Plaintiff asserts that both

either   have   or   should   have    notice       of   each   of    the   incidents

described in Plaintiff’s summary. (ECF No. 54-1 at PageID 649-50,

654.)    Many   of    these    incidents,          according     to    Plaintiff’s

descriptions,    involved     facts    similar          to   those    here,   namely

striking or deploying chemical agents on inmates who were subdued

or not otherwise threatening to officers. (See ECF No. 54-5 at

PageID 694-99.) Two officers identified for their involvement in

Mr. Freeman’s case——Stevon Jones and Damian Cooper——were also

purportedly involved in excessive force incidents in July 2020 and

January 2021, respectively. (Id. at PageID 698.) As to Fields,

Plaintiff additionally asserts that, on one occasion in 2020,

Fields “personally ordered”           that    deputies unreasonably           deploy

                                     - 35 -
 Case 2:23-cv-02193-MSN-tmp    Document 126   Filed 05/30/25   Page 36 of 67
                                PageID 1464


Freeze +P on inmates who were peacefully protesting the Jail’s

COVID-19 policies. (Id. at PageID 642.)

     Plaintiff lastly alleges that, despite this knowledge of

constitutional violations, neither Fields nor Bonner took steps to

adequately train, supervise, or investigate officers regarding the

use of excessive force. (See ECF No. 54-1 at PageID 651, 654

(writing that the instances of excessive force identified by

Plaintiff gave Fields and Bonner “actual notice of a need to revise

and improve Jail operations and the SCSO disciplinary process”).)

As mentioned above, Plaintiff asserts that Fields or Bonner could

have, but chose not to, order “remedial use of force training” for

Jail deputies. (Id. at PageID 649, 653.) She also contends that

Fields and Bonner failed to “implement an unbiased use of force

investigation procedure,” instead “allowing front-line supervisors

. . . working the floor with [Jail] deputies to determine if their

use of force was excessive.” (Id. at PageID 649, 653.) As to Bonner

only, Plaintiff further alleges an attempt to “cover-up” the

conduct of deputies involved in Mr. Freeman’s case by making public

“misrepresentations” regarding the SCSO’s lack of administrative

action. (Id. at PageID 638, 649.)

     Taken as true and viewed together, these facts plausibly

allege that Fields and Bonner, through the execution of their job

functions,   “at   least      knowingly    acquiesced”    in    subordinate

officers’ excessive force against Mr. Freeman. Venema, 133 F.4th

                                  - 36 -
 Case 2:23-cv-02193-MSN-tmp        Document 126         Filed 05/30/25    Page 37 of 67
                                    PageID 1465


at 633. As in Venema, Plaintiff here has alleged that Fields and

Bonner had knowledge of a history of excessive force by Jail

officers, had the authority and responsibility to make, amend, and

enforce Jail policy, and yet failed to adequately train, supervise,

or discipline Jail deputies regarding unreasonable use of force.

See id. at 633-36.

     Finally,     the   undersigned           also    finds    that      Plaintiff   has

sufficiently     pleaded     a    causal      connection      between      Fields’    and

Bonner’s    acquiescence         and    the     alleged       deprivations      of   Mr.

Freeman’s     Fourteenth         Amendment      rights.        To     establish      this

connection,      Plaintiff       must    show        that   Fields’      and   Bonner’s

“conduct, or lack thereof, ‘could be reasonably expected to give

rise to just the sort of injuries’ that [Plaintiff] alleges have

occurred.” Id. at 633 (quoting Campbell, 700 F.3d at 790). Here,

the undersigned finds that the complaint plausibly alleges that

Fields’ and Bonner’s failure to properly train and supervise Jail

staff on, or to adequately discipline deputies for violations of,

use of force standards could be reasonably expected to give rise

to excessive applications of force like those Plaintiff describes

in her complaint.

            b.    Clearly Established Prong

     Having found that Plaintiff has plausibly alleged Fields’ and

Bonner’s active involvement in violating Mr. Freeman’s Fourteenth

Amendment rights, the court turns to whether those rights were

                                        - 37 -
 Case 2:23-cv-02193-MSN-tmp     Document 126      Filed 05/30/25    Page 38 of 67
                                 PageID 1466


clearly established at the time of Mr. Freeman’s encounter with

correctional     deputies.    “To   satisfy    this    second      prong   of   the

qualified immunity analysis, ‘the contours of the right must be

sufficiently clear that a reasonable official would understand

that what he is doing violates that right.’” Coley, 799 F.3d at

539-40 (quoting Clemente v. Vaslo, 679 F.3d 482, 490 (6th Cir.

2012)) (cleaned up). “[A]n action’s unlawfulness can be apparent

from    direct   holdings,    from     specific     examples       described    as

prohibited, or from the general reasoning that a court employs.”

Ouza v. City of Dearborn Heights, Mich., 969 F.3d 265, 283 (6th

Cir. 2020) (quoting Feathers v. Aey, 319 F.3d 843, 848 (6th Cir.

2003)). As explained above, for a claim of supervisory liability,

“[Plaintiff] needs only to show that the right violated by the

subordinate officers . . . was clearly established at the time of

the violation.” Venema, 133 F.4th at 636 (citation omitted).

       Although Plaintiff has the burden of showing that Freeman’s

Fourteenth Amendment rights were clearly established, Fields and

Bonner still “carr[y] the burden of showing that the challenged

act[s] [were] objectively reasonable in light of the law existing

at the time.” Coley, 799 F.3d at 540 (quoting Everson v. Leis, 556

F.3d 484, 494 (6th Cir. 2009)). However, in their motions and reply

briefs, neither Fields nor Bonner offer more than conclusory

statements that Plaintiff has failed to meet her burden under the

“clearly established” prong. (See ECF Nos. 57-1 at PageID 730; 60-

                                     - 38 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 39 of 67
                               PageID 1467


1 at PageID 782; 110 at PageID 1382; see generally ECF No. 112.)

Bonner in fact asserts that “it is unnecessary to address the issue

of whether the right was clearly established” because, in his view,

Plaintiff has not established that Bonner’s conduct violated a

constitutional right. (ECF No. 60-1 at PageID 782.)

     The undersigned accordingly looks to what law Plaintiff alone

has offered to support her contention that the manner of force

used against Mr. Freeman was excessive. In describing the events

preceding Mr. Freeman’s death, Plaintiff cites six decisions of

courts within the Sixth Circuit where the force used against an

incarcerated plaintiff was found to be excessive. (See ECF No. 54-

1 at PageID 632-36 (citing Coleman v. Oninku, No. 1:17-cv-599,

2021 WL 3634704 (S.D. Ohio Aug. 17, 2021); Young v. Kent Cnty.

Sheriff’s Dep’t, No. 21-1222, 2022 WL 94990 (6th Cir. Jan. 10,

2022); Champion v. Outlook Nashville, Inc., 380 F.3d 893, 903 (6th

Cir. 2004); Hopper v. Phil Plummer, 887 F.3d 744, 754 (6th Cir.

2018); Jennings v. Fuller, 659 F. App’x 867, 870 (6th Cir. 2016);

and Sweatt v. Doxtader, 986 F. Supp. 2d 886, 898 (E.D. Mich.

2013).) Based on the undersigned’s review, in each of these cases,

the incarcerated plaintiff was either subdued before force was

exerted, did not pose a sufficient threat justifying the amount of

force, or was held in a face-down position for an extended period.

Each of these circumstances mirror the purported circumstances

surrounding Jail deputies’ use of force against Mr. Freeman before

                                 - 39 -
 Case 2:23-cv-02193-MSN-tmp        Document 126      Filed 05/30/25    Page 40 of 67
                                    PageID 1468


his death. (See, e.g., ECF No. 54-1 at PageID 632 (describing

Freeman      as     “non-violent   and   non-threatening”           after    Officers

Williams and Howell first pepper sprayed and struck Freeman);

PageID 635 (alleging that “[d]eputies held Mr. Freeman in the

facedown position for over five minutes”).)

     Viewing the facts in the light most favorable to Plaintiff,

and given the cursory briefing on this issue by the parties and

the limited pre-discovery factual record, the undersigned finds

that Plaintiff has sufficiently alleged violations of clearly

established Fourteenth Amendment law. See Venema, 133 F.4th at 632

(citation omitted) (noting that it is “preferable” to resolve a

claim     of      qualified    immunity,     and     especially        the   clearly

established prong, at summary judgment). As the Sixth Circuit

stated in Coley, “pretrial detainees [have] a clearly established

right not to be gratuitously assaulted while fully restrained and

subdued. . . . Under the Fourteenth, Fourth, or Eighth Amendments,

assaults       on   subdued,   restrained      and    nonresisting       detainees,

arrestees, or convicted prisoners are impermissible.” 799 F.3d at

540 (citing Pelfrey v. Chambers, 43 F.3d 1034, 1037 (6th Cir.

1995)). “At this stage of the proceedings, it is not known whether

[Plaintiff] will be able to sustain these allegations, but it is

clear that the facts alleged in the Complaint set forth a plausible

claim   of     supervisory     liability.”     Peatross,      818     F.3d   at   246.

Accordingly, the undersigned recommends that Fields’ and Bonner’s

                                      - 40 -
 Case 2:23-cv-02193-MSN-tmp        Document 126    Filed 05/30/25   Page 41 of 67
                                    PageID 1469


Motions to Dismiss be denied with respect to Plaintiff’s Fourteenth

Amendment excessive force claims.

     2.     Inadequate Medical Care Claim

     The    court    next       turns   to   Plaintiff’s    (apparent)        second

Fourteenth       Amendment      claim   against   Fields    and     Bonner:    that

subordinate Jail         staff deprived Mr. Freeman of              his right to

adequate medical care. “Under the Fourteenth Amendment, pretrial

detainees have a right to adequate medical care,” which an official

violates “when he acts with deliberate indifference to an inmate’s

serious medical needs.” Downard for Est. of Downard v. Martin, 968

F.3d 594, 600 (6th Cir. 2020) (first quoting Johnson v. Karnes,

398 F.3d 868, 874 (6th Cir. 2005); and then quoting Estelle v.

Gamble,    429    U.S.    87,    104    (1976))   (internal    quotation      marks

omitted). The Sixth Circuit’s deliberate indifference standard

contains both an objective and a subjective component. Id. (citing

Phillips v. Roane Cnty., 534 F.3d 531, 539 (6th Cir. 2008)). For

the former, a plaintiff must show that the pretrial detainee “had

a sufficiently serious medical need,” meaning that the need “was

so obvious that anyone would understand it posed a ‘substantial

risk of serious harm’ without medical intervention.” Heeter v.

Bowers,    99 F.4th 900, 915-16 (6th Cir. 2024) (first quoting

Helphenstine v. Lewis Cnty., 60 F.4th 305, 316 (6th Cir. 2023);

and then quoting Hicks v. Scott, 958 F.3d 421, 438 (6th Cir.

2020)). And until recently, to satisfy the subjective prong, a

                                        - 41 -
 Case 2:23-cv-02193-MSN-tmp           Document 126    Filed 05/30/25    Page 42 of 67
                                       PageID 1470


plaintiff was required to show “both that an official knew of [the

detainee’s] serious medical need and that, despite this knowledge,

the official disregarded or responded unreasonably to that need.”

Downard, 968 F.3d at 600 (citation omitted).

       In response to the Supreme Court’s decision in Kingsley v.

Hendrickson, the Sixth Circuit modified the subjective component

to   reduce     the   requisite       level   of     culpability       “from   ‘actual

knowledge to recklessness.’” Lawler as next friend of Lawler v.

Hardeman    Cnty.,     93     F.4th    919,   927    (6th     Cir.   2024)     (quoting

Helphenstine, 60 F.4th at 316). Accordingly, pretrial detainees in

this circuit today “need only prove that the officers recklessly

disregarded a risk so obvious that they either knew or should have

known of it.” Id. (citing Helphenstine, 60 F.4th at 317). The

subjective component still presents a high bar because a plaintiff

must    plead     that      the       official      “acted     deliberately          (not

accidentally),        [and]     also     recklessly     ‘in     the     face    of    an

unjustifiably high risk of harm that is either known or so obvious

that it should be known.’” Helphenstine, 60 F.4th at 317 (quoting

Brawner v. Scott Cnty., 14 F.4th 585, 596 (6th Cir. 2021)). “The

plaintiff[] must also prove that the officer ‘responded to the

risk in an unreasonable way.’” Heeter, 99 F.4th at 916 (quoting

Lawler, 93 F.4th at 929) (internal quotation marks omitted).

       Here, Plaintiff has alleged that Mr. Freeman was “suffering

from   a   mental     health      crisis,”    marked     by    symptoms      including

                                         - 42 -
 Case 2:23-cv-02193-MSN-tmp         Document 126    Filed 05/30/25    Page 43 of 67
                                     PageID 1471


“selective mutism” and “suicidal ideation,” from the time of his

arrest until his death. (See ECF No. 54-1 at PageID 628-30.)

According to Plaintiff, Mr. Freeman’s mental-health crisis was

later determined to be a “psychotic episode and a contributing

factor in his death.” (Id. at PageID 630.) She also contends that

Mr.    Freeman’s        condition      “worsened      severely”       during      his

incarceration such that his mental-health crisis was “obvious” by

the   afternoon    of    October     5,   2022.    (Id.)   Taken     as   true,   the

undersigned finds that these facts are sufficient to plausibly

allege the first, objective component of a Fourteenth Amendment

inadequate medical care claim.

      However,     Plaintiff’s       claim   fails     with    respect      to    the

subjective component. Rather than focusing on any single staff

member’s response to Mr. Freeman’s mental health crisis, Plaintiff

appears to argue that the Jail’s medical policies as a whole are

deficient. For example, Plaintiff criticizes the Jail’s policy of

providing   only    “perfunctory”         mental-health     screenings      to    new

inmates, arguing that this process “failed to diagnose Mr. Freeman

upon his arrival.” (Id. at PageID 628.) Without adequate screening,

Plaintiff contends that Mr. Freeman was left “exhibiting symptoms

of a mental health disorder for four days without referral to a

psychiatrist or social worker, four days in which access to a

mental health professional could have prevented his descent into

a fully psychotic state.” (Id. at PageID 629.) In Counts II and

                                       - 43 -
 Case 2:23-cv-02193-MSN-tmp    Document 126   Filed 05/30/25   Page 44 of 67
                                PageID 1472


III of the Second Amended Complaint, Plaintiff further asserts

that Fields and Bonner knew that:

       (a) The perfunctory mental health screenings provided to
       detainees upon arrival at the Jail were inadequate to
       identify inmates with psychological and psychiatric
       problems despite their outsize prevalence among the Jail
       population and that a more robust screening process
       would provide adequate protection;

       (b) The County’s official policy of confining the
       provision of emergency medical care to outside medical
       staff, rather than SCSO Jail staff, was resulting in a
       failure to provide necessary medical care in the initial
       minutes of medical emergencies (i.e., before medical
       staff could arrive);

       . . .

       (d) In a clear and persistent pattern, the Blackshirts
       and other Jail staff regularly violated mental-health
       and other Jail medical protocols; [and]

       . . .

       (h) The Jail lacked appropriate policies, procedures, or
       training to ensure correctional officers’ compliance
       with mental-health and other Jail medical protocols,
       despite a clear and persistent pattern of violations of
       these protocols by Jail staff[.]

(Id.   at   PageID   648-49,   652-53.)13   Similar   to   her   Fourteenth

Amendment excessive force claim, Plaintiff contends that Fields


13Plaintiff also references inmates’ mental-health needs in her
allegations that Fields and Bonner knew that “the Blackshirts and
other Jail staff regularly inflicted pain and punishment on inmates
experiencing mental-health crises as a means of compelling
submission and compliance.” (ECF No. 54-1 at PageID 648, 653.) The
undersigned has considered this allegation in support of
Plaintiff’s excessive force claims. However, the undersigned does
not construe the complaint as making this allegation in support of
a deficient medical care claim. In any event, Plaintiff has
provided no legal support or otherwise explained how this
                                  - 44 -
 Case 2:23-cv-02193-MSN-tmp       Document 126   Filed 05/30/25    Page 45 of 67
                                   PageID 1473


and Bonner, despite this knowledge, “failed to properly train or

supervise . . . subordinates on fundamental principles regarding

. . . mental-health and other medical protocols.” (Id. at PageID

652, 655.)

      The undersigned finds that these contentions, even viewed in

the light most favorable to Plaintiff, do not support a plausible

allegation that Jail medical staff “recklessly disregarded” a risk

of   harm    to   Mr.   Freeman    or   responded   to   that     risk   “in    an

unreasonable way.” Heeter, 99 F.4th at 916 (citations omitted).

Take Plaintiff’s first assertion that the Jail’s “perfunctory

screening process failed to diagnose Mr. Freeman upon his arrival.”

(ECF No. 54-1 at PageID 628.) Even if it were true that Mr. Freeman

could have been referred more quickly for psychiatric treatment,

Plaintiff    does   not   allege    that   the   nurse   who      conducted    Mr.

Freeman’s intake screening perceived an obvious risk to his safety,

let alone deliberately and recklessly disregarded that risk.14

Then, once Jail staff perceived that Mr. Freeman’s condition had



allegation may form the basis of an inadequate medical care claim
under the Fourteenth Amendment.

14Althoughthe present case does not involve a detainee’s suicide,
the undersigned notes that the Sixth Circuit’s subjective element
is even more “demanding” in such cases where, as here, an inmate’s
objectively serious medical need involved a risk of suicide. See
Lawler, 93 F.4th at 929 (citations omitted) (summarizing Sixth
Circuit   case   law   holding    that,   to   account   for   the
“unpredictability” of inmates who take their lives without
warning, an officer “must have believed that a ‘strong likelihood’
existed that the inmate would commit suicide”).
                                     - 45 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 46 of 67
                               PageID 1474


worsened, Plaintiff acknowledges that a Licensed Master Social

Worker was called to address the situation. (See ECF No. 54-1 at

PageID 629.) That social worker “requested that Mr. Freeman be

placed on suicide watch in Pod 4-J and that he be scheduled for

evaluation by Dr. Ike, the jail psychiatrist then on duty.” (Id.)

Plaintiff does not specify how (nor does she even appear to allege

that) these steps were unreasonable under the circumstances.

       Plaintiff also seems to imply that officers delayed in calling

for emergency medical assistance once Mr. Freeman was handcuffed

on the Jail’s fifth floor. She states that, “[a]t 4:57 p.m.

deputies finally called a ‘code white’ (medical emergency),” (id.

at PageID 636), and that in the “three minutes” until medical staff

arrived,    officers   “largely   milled   about   Mr.   Freeman’s     body,

stepping over and around it,” (id.). However, in contrast to

Plaintiff’s   explicit   allegation   (and   legal   support)     that   the

officers’ manner of restraining Mr. Freeman constituted excessive

force, nowhere does she assert or explain how officers acted

unreasonably in calling for emergency assistance. Plaintiff does

not specify how long officers may or may not have waited before

calling medical personnel, nor does she allege that they did so

deliberately. Accordingly, the undersigned finds that Plaintiff

has not pleaded sufficient factual content to state a plausible

Fourteenth Amendment claim on this basis. See Iqbal, 556 U.S. at

678.

                                  - 46 -
 Case 2:23-cv-02193-MSN-tmp      Document 126       Filed 05/30/25    Page 47 of 67
                                  PageID 1475


     Finally,      to   the    extent    that      Plaintiff’s       reference    to

deficient     mental-health       policies       implies     that     Jail      staff

deliberately disregarded a risk of harm to all detainees with

psychiatric conditions, that argument is also unavailing. The

subjective prong of the Sixth Circuit’s test for an inadequate

medical     care    claim     requires      that    Plaintiff        “address     the

[offending]      officer’s     mental    state     and   responsive       actions.”

Heeter, 99 F.4th at 916. Plaintiff’s generalized contention that

“[i]n a clear and persistent pattern, . . . Jail staff regularly

violated mental-health and other Jail medical protocols” is thus

not sufficient to state a claim of deliberate indifference. (See

ECF No. 54-1 at PageID 646, 648, 653.) Likewise, Plaintiff cannot

rely on blanket assertions——namely that the Jail’s “perfunctory

mental-health screenings . . . [were] inadequate” and that the

County’s “policy of confining the provision of emergency-medical

care to outside medical staff . . . was resulting in a failure to

provide necessary medical care”——to show that Jail staff responded

unreasonably to every risk posed by inmates with psychiatric

emergencies. (See id. at PageID 645, 648, 652-53.)

     In   sum,     Plaintiff    has   not    provided      sufficient     facts    to

plausibly allege a Fourteenth Amendment inadequate medical care

claim under this circuit’s two-prong standard. Because Plaintiff

has not alleged a plausible constitutional violation, she has

likewise not made out a claim of supervisory liability as to Fields

                                      - 47 -
 Case 2:23-cv-02193-MSN-tmp        Document 126         Filed 05/30/25   Page 48 of 67
                                    PageID 1476


or Bonner, nor can she satisfy her burden to overcome Fields’ and

Bonner’s    assertions      of     qualified       immunity.       The       undersigned

accordingly     recommends       that    Fields’    and      Bonner’s        Motions   to

Dismiss    be   granted     with     respect       to     Plaintiff’s        Fourteenth

Amendment inadequate medical care claims.

C.   The County’s Motion to Dismiss

     1.     Plaintiff’s State Law Claims

     The court now turns to the County’s Motion to Dismiss. But

before    weighing    the    merits      of   the       County’s     arguments,        the

undersigned again notes that Plaintiff has abandoned her state law

claims. (ECF No. 109 at PageID 1364-65.) Because of this, the

undersigned recommends that the County’s motion be granted with

respect to Plaintiff’s TGTLA and loss of consortium claims.

     2.     Plaintiff’s § 1983 Claims

     Next, the County moves to dismiss Plaintiff’s § 1983 municipal

liability claims under Count I of the Second Amended Complaint.

“Unlike states, . . . local governments, municipalities, and

counties are considered ‘persons’ within the meaning of 42 U.S.C.

§ 1983[.]” Alkire v. Irving, 330 F.3d 802, 814 (6th Cir. 2003).

However, a municipality cannot be held liable under § 1983 for the

constitutional       violations     of    its    employees         on    a   theory     of

respondeat superior. Morris v. City of Memphis, No. 19-cv-2874-

MSN-tmp, 2021 WL 1878357, at *3 (W.D. Tenn. Apr. 20, 2021) (citing

Monell v. Dep't of Soc. Servs., 436 U.S. 658, 694 (1978)). “Rather,

                                        - 48 -
 Case 2:23-cv-02193-MSN-tmp     Document 126   Filed 05/30/25   Page 49 of 67
                                 PageID 1477


the [County] may be held only directly liable ‘for unconstitutional

policies, practices, or customs that were the moving force behind

the deprivation of plaintiffs’ rights.’” Id. (quoting Pethel v.

State Dep’t of Children Servs., No. 3:10-cv-469-TAV-HBG, 2020 WL

6827791, at *16 (E.D. Tenn. Nov. 20, 2020) and citing Monell, 436

U.S. at 694) (internal quotation marks omitted).

     Thus, to state of claim of § 1983 municipal liability,

Plaintiff must “allege facts that ‘plausibly suggest’ two things.”

Coleman v. Hamilton Cnty. Bd. of Cnty. Comm’rs, 130 F.4th 593,

598-99 (6th Cir. 2025) (quoting Iqbal, 556 U.S. at 680). She “must

first   allege   that    [Mr.   Freeman’s]     injuries     arose     from   an

unconstitutional act.” Id. Plaintiff “must then ‘connect’ that act

to a county policy or custom.” Id. (quoting Gambrel v. Knox Cnty.,

25 F.4th 391, 408 (6th Cir. 2022)). “In the context of [§] 1983

municipal liability, district courts in the Sixth Circuit have

interpreted    Iqbal’s   standards   strictly.”     Epperson     v.   City   of

Humboldt, 140 F. Supp. 3d 676, 685 (W.D. Tenn. 2015) (quoting

Hutchison v. Metro. Gov't of Nashville & Davidson Cnty., 685 F.

Supp. 2d 747, 751 (M.D. Tenn. 2010)). “[F]ormulaic recitation of

the elements” of a § 1983 cause of action is insufficient to state

a claim upon which relief can be granted. Birgs v. City of Memphis,

686 F. Supp. 2d 776, 779 (W.D. Tenn. 2010) (quoting Twombly, 550

U.S. at 555).

          a.     Mr. Freeman’s Constitutional Injuries

                                   - 49 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 50 of 67
                               PageID 1478


     Similar to her § 1983 claims against Fields and Bonner,

Plaintiff charges the County with infringing upon Mr. Freeman’s

Fourteenth Amendment rights. She again appears to separate these

Fourteenth Amendment violations into two categories: a claim of

excessive force and a claim of inadequate medical care. (See ECF

No. 54-1 at PageID 645-46.)

     As an initial matter, the undersigned reiterates the prior

conclusions regarding Plaintiff’s allegations of Mr. Freeman’s

Fourteenth Amendment injuries. That is, Plaintiff has plausibly

alleged that correctional officers used excessive force against

Mr. Freeman, but has not plausibly alleged that Jail staff acted

with deliberate indifference to Mr. Freeman’s serious medical

needs. See supra Sections II.B.1.a, II.B.2. For those same reasons,

Plaintiff has failed to satisfy the first requirement for a § 1983

inadequate medical care claim against the County. The undersigned

recommends that the County’s Motion to Dismiss be granted as to

that allegation.

          b.    The County’s Unlawful Policies or Customs

     Plaintiff must next connect Jail officers’ alleged excessive

force against Mr. Freeman to a policy or custom of the County. The

Sixth Circuit has identified “at least four avenues” through which

a plaintiff may prove the existence of a municipality’s unlawful

policy or custom. Franklin v. Franklin Cnty., 115 F.4th 461, 470

(6th Cir. 2024) (quoting Thomas v. City of Chattanooga, 398 F.3d

                                 - 50 -
 Case 2:23-cv-02193-MSN-tmp     Document 126      Filed 05/30/25   Page 51 of 67
                                 PageID 1479


426, 429 (6th Cir. 2005)). These include: “(1) the municipality's

legislative enactments or official agency policies; (2) actions

taken by officials with final decision-making authority; (3) a

policy of inadequate training or supervision; or (4) a custom of

tolerance   or   acquiescence    of    federal    rights     violations.”     Id.

(emphasis added).

    Plaintiff appears to invoke all four theories of municipal

liability for her Fourteenth Amendment excessive force claim. She

specifically     identifies   the     following    policies,       customs,   and

practices   that    purportedly       caused   this     deprivation      of   Mr.

Freeman’s rights:

    (c) The County’s unwritten custom and practice of
    tolerating instances of excessive force by Jail staff
    against inmates;

    . . .

    (e) The County’s tacit encouragement of Jail staff who
    inflicted pain and punishment on inmates experiencing
    mental-health crises as a means of compelling submission
    and compliance;

    (f) The County’s policy or custom of deploying chemical
    weapons for unconstitutional purposes;

    (g) The County’s refusal to promulgate appropriate
    policies or procedures, or to take other measures, to
    prevent the use of unwarranted or excessive force by
    Jail staff despite awareness of a clear and persistent
    pattern of such conduct;

    (h) The County’s decision not to adequately train and
    supervise subordinate correctional officers in the
    appropriate use of force in the Jail, despite a clear
    and persistent pattern of excessive-force violations;


                                    - 51 -
 Case 2:23-cv-02193-MSN-tmp     Document 126     Filed 05/30/25   Page 52 of 67
                                 PageID 1480


       [and]

       . . .

       (k) The County’s continued reliance on members of the
       Blackshirts to fill Jail staffing shortages, despite
       these officers’ well-known and well-documented pattern
       of using unwarranted and excessive force against
       detainees.

(Id. at PageID 645-46.) Plaintiff further asserts that the County

“ratified” the conduct of Jail staff who used force on Mr. Freeman

“by    refusing,    through   policymakers     Sheriff       Bonner   and   Chief

Fields, to investigate, or to take administrative action against,

the officers involved.” (Id. at PageID 646.)

       Because Plaintiff need plausibly allege only one theory of

municipal liability to survive the County’s motion to dismiss, the

undersigned confines the below analysis to Plaintiff’s “custom of

tolerance” arguments. See Franklin, 115 F.4th at 470 (quoting

Thomas, 398 F.3d at 429) (explaining that a plaintiff may take any

of    “at   least   four   avenues”    to   establish   an    unconstitutional

municipal policy or custom). To successfully plead a custom of

tolerance or acquiescence, Plaintiff must allege

       (1) the existence of a clear and persistent pattern of
       [wrongdoing];

       (2) notice or constructive notice on the part of the
       [County];

       (3)   the    [County’s]   tacit    approval   of the
       unconstitutional conduct, such that their deliberate
       indifference in their failure to act can be said to
       amount to an official policy of inaction; and


                                      - 52 -
 Case 2:23-cv-02193-MSN-tmp     Document 126      Filed 05/30/25   Page 53 of 67
                                 PageID 1481


     (4) that the [County’s] custom was the “moving force” or
     direct causal link in the constitutional deprivation.

Stucker v. Louisville Metro Gov’t, No. 23-5214, 2024 WL 2135407,

at *9 (6th Cir. May 13, 2024) (quoting Doe v. Claiborne Cnty. ex

rel. Claiborne Cnty. Bd. of Educ., 103 F.3d 495, 508 (6th Cir.

1996)). This standard requires an allegation of the County’s

“deliberate indifference,” meaning that “the municipality has

failed to act ‘in response to repeated complaints of constitutional

violations by its officers.’” Id. at *11 (quoting Ouza v. City of

Dearborn Heights, 969 F.3d 265, 287 (6th Cir. 2020)). Deliberate

indifference can be demonstrated through a “pattern of similar

constitutional violations showing [] [p]olicymakers’ continued

adherence to an approach that they know or should know has failed

to prevent tortious conduct by employees.” Id. (quoting Connick v.

Thompson,   563   U.S.   51,   62   (2011))    (internal      quotation     marks

omitted).

     At   the   motion   to    dismiss   stage,     the   Sixth    Circuit    has

consistently found that conclusory, speculative allegations are

insufficient to state a plausible claim of deliberate indifference

by a municipality. See, e.g., Brent v. Wayne Cnty. Dep’t of Human

Servs., 901 F.3d 656, 698 (6th Cir. 2018) (affirming dismissal of

plaintiff’s municipal liability claim where complaint failed to

allege “a single fact” suggesting that Fourth Amendment violations

were the result of defendant city’s custom or policy); D’Ambrosio


                                    - 53 -
  Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 54 of 67
                                PageID 1482


v. Marino, 747 F.3d 378, 387-88 (6th Cir. 2014) (applying four-

prong custom of tolerance standard to hold that plaintiff’s “lone,

conclusory allegation” of employee’s misconduct did not state a

plausible claim of municipal liability). By contrast, in cases

where the Sixth Circuit has found that complaints satisfied the

plausibility requirement, those complaints contained at least some

details as to the custom or practice challenged and identified

specific instances of similar past conduct. See, e.g., Franklin,

115 F.4th at 472 (summarizing recent Sixth Circuit case law finding

that one, and up to three, instances of past misconduct were

insufficient to establish a “pattern,” but five instances were

adequate); Osberry v. Slusher, 750 F. App’x 385, 398 (6th Cir.

2018) (quoting Iqbal, 556 U.S. at 680) (finding that six prior

cases    of   alleged    unconstitutional      conduct     identified      in

plaintiff’s amended complaint “nudge[d] Osberry’s Monell claim

‘across the line from conceivable to plausible’” under Iqbal’s

pleading standard).

       The County argues in its motion to dismiss that “Plaintiff’s

Monell allegations are nothing more than formulaic recitations

proscribed by precedent.”15 (ECF No. 58-1 at PageID 753.) As to her


15Inaddition to its arguments regarding the merits of Plaintiff’s
allegations, the County asserts——in a single footnote within its
motion to dismiss——that Plaintiff’s municipal liability claim
should be barred for “failure to exhaust all administrative
remedies available” in accordance with the Prison Litigation
Reform Act (“PLRA”). (ECF No. 58-1 at PageID 752 n.16.) The PLRA
                                  - 54 -
 Case 2:23-cv-02193-MSN-tmp      Document 126   Filed 05/30/25   Page 55 of 67
                                  PageID 1483


custom of tolerance theory specifically, the County contends that

“Plaintiff offers no facts in support” of her otherwise conclusory

statement    that   such   a    custom   exists.    (Id.   at    PageID   754.)

Furthermore, Plaintiff’s “only purported support” for her custom

of tolerance allegation——Plaintiff’s Rule 1006 Summary of prior

use of force incidents——is also deficient. (Id. at PageID 755.)

According to the County, Plaintiff “fails to provide any context

that,   of   the    thousands    of    complaints   against      [correctional

deputies] received, only [thirty-two]” were found to be “well

supported” over a period of three years. (Id.) It also argues that

Plaintiff “fails to tie these incidents” to Mr. Freeman’s injuries




provides that “[n]o action shall be brought with respect to prison
conditions under section 1983 . . . by a prisoner confined in any
jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.” 42 U.S.C.
§ 1997e(a). Because Mr. Freeman “was an inmate at the time the
alleged causes of action accrued,” the County contends that he
(and by extension Plaintiff) should be subject to the PLRA’s
exhaustion requirement. (ECF No. 58-1 at PageID 752 n.16.) Although
the issue has not been thoroughly briefed by the parties, and
indeed Plaintiff fails to address the argument in her response
brief, (see ECF No. 109), it would appear that the PLRA does not
apply to this wrongful death action. See 42 U.S.C. § 1997e(a)
(applying to “prisoner[s] confined in any jail, prison, or other
correctional facility,” not former prisoners); Burke v. Thompson,
No. 5:15-CV-00007-TBR, 2016 WL 2587996, at *10-11 (W.D. Ky. May 4,
2016) (quoting Mabry v. Freeman, 489 F. Supp. 2d 782, 785 (E.D.
Mich. 2007) (collecting cases)) (explaining that, “[w]hile the
Sixth Circuit has not specifically decided this issue, every
federal court of appeals that has addressed this issue has held
that the PLRA's exhaustion requirement does not apply to suits
brought by former inmates,” and concluding that exhaustion
requirement would not apply in case brought by estate of former
prisoner who died while in custody).
                                      - 55 -
 Case 2:23-cv-02193-MSN-tmp       Document 126      Filed 05/30/25   Page 56 of 67
                                   PageID 1484


and that, in any case, they are “too temporally attenuated” because

the final incident cited occurred one year before Mr. Freeman’s

encounter with Jail officers. (Id. at PageID 755-56.)

     The undersigned finds the County’s arguments unpersuasive.

The Sixth Circuit has not set bright-line rules for how many past

incidents      are   required    to    constitute    a   clear   and     consistent

pattern, or for how close in time these prior examples must be to

a plaintiff’s alleged injury. See Franklin, 115 F.4th at 472-73

(citations omitted) (explaining that a plaintiff cannot rely on a

single incident to prove the existence of an unconstitutional

custom, but the inquiry is otherwise “fact-specific” and “context-

dependent”); see also Simpkins v. Boyd Cnty. Fiscal Ct., No. 21-

5477,   2022    WL   17748619,    at    *13-14   (6th    Cir.    Sept.    2,   2022)

(rejecting district court’s conclusion that report describing

mostly incidents from 2016 was insufficient to support municipal

liability for plaintiff’s 2018 injuries, in part because report

still put County jail “on notice of the constitutional-rights

violations”). Rather, the focus of the deliberate indifference

inquiry is whether the municipality “had notice of persistent

misconduct” such that it had “the opportunity to conform to

constitutional dictates.” Berry v. Delaware Cnty. Sheriff's Off.,

796 F. App'x 857, 864 (6th Cir. 2019) (quoting D’Ambrosio, 747

F.3d at 388).



                                       - 56 -
 Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 57 of 67
                               PageID 1485


      Here, Plaintiff has alleged a pattern of excessive force

violations that, taken as true, demonstrate that the County had

notice of persistent misconduct by Jail staff since at least 2018.

Through her Rule 1006 Summary, Plaintiff has identified thirty-

two   “substantiated   findings”   of     correctional    deputies     using

excessive force against detainees. (ECF No. 54-1 at PageID 639;

see generally ECF No. 54-5.) She also           alleges an additional

incident from 2020, during which defendant Fields purportedly

“ordered that his deputies deploy numerous cans of Freeze +P”

against inmates protesting the Jail’s COVID-19 testing policies.

(ECF No. 54-1 at PageID 642.) Plaintiff’s thirty-three examples

are well beyond the number of instances found to constitute a

pattern under recent Sixth Circuit precedent. See, e.g., Simpkins,

2022 WL 17748619, at *13-14 (finding five other discrete incidents

adequate to allege a pattern); Osberry, 750 F. App’x at 398

(concluding that allegations of six prior incidents sufficiently

pleaded deliberate indifference failure-to-train claim). These

recent cases also suggest that incidents from up to four years

before a plaintiff’s injuries occurred, when alleged as part of a

pattern, can support a claim of deliberate indifference. See, e.g.,

Simpkins, 2022 WL 17748619, at *13 (discussing examples from three

years prior); Osberry, 750 F. App’x at 398 (citing plaintiff’s

examples from four years prior).



                                 - 57 -
  Case 2:23-cv-02193-MSN-tmp     Document 126      Filed 05/30/25   Page 58 of 67
                                  PageID 1486


        Moreover, the County’s argument that Plaintiff has failed to

“tie”     these   prior    incidents   to    Mr.     Freeman’s      injuries    is

unavailing.16 (See ECF No. 58-1 at PageID 755). The Sixth Circuit

has held that, while a plaintiff’s claim and an alleged pattern of

violations    need   not    be   identical,     the     similarity      “must   be

particularized.” Franklin, 115 F.4th at 472-73 (quoting Berry, 796

F. App’x at 862). This means that “the prior examples of wrongdoing

must violate the same constitutional rights [as the plaintiff’s]

and violate them in the same way.” Id. at 472 (quoting Berry, 796

F. App’x at 863). As explained above, many of the incidents

described in Plaintiff’s Rule 1006 Summary involved correctional

deputies striking or deploying chemical agents on inmates who were

subdued or not otherwise threatening to officers. (See, e.g., ECF

Nos. 54-5 at PageID 694-96, 698 (five incidents involving use of

Freeze +P chemical spray); PageID 696-90 (at least ten incidents

where officers were specifically alleged to have punched, kicked,


16The court also notes that the only case cited by the County in
opposition to Plaintiff’s custom of tolerance allegation is
Sanders v. City of Memphis, No. 2:21-CV-02585-MSN-cgc, 2022 WL
4665867 (W.D. Tenn. Sept. 30, 2022). There, District Judge Mark S.
Norris rejected a plaintiff’s municipal liability claim against
the City of Memphis stemming from Memphis Police Department
officers’ alleged excessive force during an arrest. However,
unlike Plaintiff here, the Sanders plaintiff cited to only two
prior excessive force incidents without any further “details about
the dates or dispositions of [each] case, which officers were
involved, or which specific customs or policies were relevant to
[each] matter . . . .” Id. at *5. Given the far greater extent of
Plaintiff’s factual support here, the undersigned finds that
Sanders does not support the County’s argument.
                                    - 58 -
  Case 2:23-cv-02193-MSN-tmp     Document 126    Filed 05/30/25   Page 59 of 67
                                  PageID 1487


or stomped on inmates).) Accepted as true, these allegations

establish     a   pattern   of   Fourteenth     Amendment    excessive     force

violations that occurred in largely the same manner as those

suffered by Mr. Freeman. This years-long pattern also supports the

inference, as Plaintiff alleges, that the County’s tolerance of

unconstitutional conduct caused the deprivation of Mr. Freeman’s

Fourteenth Amendment rights.

       For these reasons, the undersigned finds that Plaintiff has

pleaded sufficient facts to plausibly allege the County’s “custom

of tolerance” toward the use of unreasonable, excessive force at

the Jail. The undersigned accordingly recommends that the County’s

Motion to Dismiss be denied as to Plaintiff’s Fourteenth Amendment

excessive force claim.

       3.    Plaintiff’s ADA Claim

       Lastly, the County moves to dismiss Plaintiff’s claim under

Title II of the ADA.17 Title II “prohibit[s] public or federally

funded      entities,   including      [carceral      institutions],        from


17In addition to arguing against the merits, the County asserts
that Plaintiff lacks standing to bring her ADA claim because “[i]t
was Mr. Freeman’s rights that were purportedly violated, not
Plaintiff’s.” (ECF No. 58-1 at PageID 751.) However, the County
offers no binding authority to support this contention, and instead
cites only cases that are factually distinguishable or state
generalized standing principles. Because the County has not
identified, and the undersigned is unaware of, any case that
specifically holds that a Title II claim cannot be brought by a
surviving spouse or the estate of a deceased plaintiff, the
undersigned declines to dismiss Plaintiff’s ADA claim on that
basis.
                                    - 59 -
 Case 2:23-cv-02193-MSN-tmp    Document 126     Filed 05/30/25    Page 60 of 67
                                PageID 1488


discriminating    against     disabled     individuals     while       operating

services or programs.” Finley v. Huss, 102 F.4th 789, 819-20 (6th

Cir. 2024) (citing Knox Cnty. v. M.Q., 62 F.4th 978, 999-1000 (6th

Cir. 2023)). The statute specifically provides that “no qualified

individual with a disability shall, by reason of such disability,

be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be

subjected to discrimination by any such entity.” 42 U.S.C. § 12132.

To state a claim under Title II, a plaintiff must allege that “(1)

he has a qualifying disability, (2) he is otherwise qualified for

a program, and (3) he was excluded from participation in, denied

the benefits of, or subjected to discrimination under a program

because of his disability.” Finley, 102 F.4th at 820 (6th Cir.

2024) (citing S.S. v. E. Ky. Univ., 532 F.3d 445, 445, 453 (6th

Cir. 2008)).

     The   undersigned    concludes      that   Plaintiff        has   plausibly

alleged the first two elements. Plaintiff contends that Mr. Freeman

“was an individual with a medical condition that substantially

limited one or more major life activity,” as reflected by his

symptoms of suicidal ideation and acute psychosis during his

detention. (ECF No. 54-1 at PageID 656-57; see also id. at PageID

628-30 (describing Mr. Freeman’s psychiatric symptoms).) While the

County   argues   that   Plaintiff   offers     “no   factual      support”   or

“medical proof” for Mr. Freeman’s purported disability, (ECF No.

                                  - 60 -
 Case 2:23-cv-02193-MSN-tmp     Document 126   Filed 05/30/25   Page 61 of 67
                                 PageID 1489


58-1 at PageID 749-50), the undersigned finds that these facts,

taken as true, sufficiently allege that Mr. Freeman was considered

to be a person with a disability under the ADA. Viewing the

complaint in the light most favorable to Plaintiff, it is also

reasonable to infer that, because Mr. Freeman was being detained

at   the   Jail,   he   was   otherwise   qualified   for   the   facility’s

programs. The County does not appear to challenge that Plaintiff

has satisfied this second element in its motion to dismiss.

      Next, to plausibly allege that Mr. Freeman was subjected to

discrimination because of his disability under Title II, Plaintiff

may rely on two theories: failure to reasonably accommodate or

intentional discrimination. Finley, 102 F.4th at 820 (citing Knox

Cnty., 62 F.4th at 1000). Under a failure-to-accommodate theory,

Plaintiff must allege that the Jail, and by extension the County,

“could have accommodated [Mr. Freeman’s] disability but refused to

do so.” Id. (citing Knox Cnty., 62 F.4th at 1000). Plaintiff must

also assert that the County’s failure to accommodate “impeded [Mr.

Freeman’s] ability to participate in or benefit from a program or

service.” Id. “[T]he determination of what constitutes reasonable

modification [to a facility’s policies or practices] is highly

fact-specific, requiring case-by-case inquiry.” Wilson v. Gregory,

3 F.4th 844, 859-60 (6th Cir. 2021) (quoting Roell v. Hamilton

Cnty., 870 F.3d 471, 489 (6th Cir. 2017)) (internal quotation marks

omitted).

                                   - 61 -
 Case 2:23-cv-02193-MSN-tmp           Document 126     Filed 05/30/25         Page 62 of 67
                                       PageID 1490


       The undersigned concludes that Plaintiff has not pleaded

sufficient    facts      to    plausibly      allege       a   Title     II    failure-to-

accommodate claim. In support of her reasonable accommodation

theory, Plaintiff asserts that “the Jail is well-aware of the need

for mental health accommodations to be compliant with the ADA but

provides totally inadequate resources to meet those needs.” (ECF

No. 54-1 at PageID 657.) Although Plaintiff is not clear on this

point, her allegation of inadequate resources would appear to

include the Jail’s “perfunctory” process of screening new inmates

for mental health conditions. (See id. at PageID 628.) Plaintiff

also contends that the 4-J pod “was supervised by senior deputies

with   authority    to    provide       reasonable         modifications,”          but    the

deficient training these deputies received, along with the Jail’s

“fundamental      lack    of    investment      in     mental-health           resources,”

ultimately     subjected        Mr.    Freeman       and       “hundreds       of   [other]

detainees” with psychological disorders to discrimination. (Id.)

However,    the   undersigned         finds   that     these       broad,      generalized

allegations regarding the Jail’s lack of training and resources

are not sufficient to plausibly assert an ADA violation as to Mr.

Freeman. Beyond alleging a vague need for improvements to the

Jail’s     screening     process,       Plaintiff          does    not     suggest        what

modifications      may    have    been     “reasonable”           to   accommodate         Mr.

Freeman’s (or, for that matter, any other inmate’s) disability.

Nor does she allege how these purported deficiencies deprived

                                         - 62 -
  Case 2:23-cv-02193-MSN-tmp   Document 126   Filed 05/30/25   Page 63 of 67
                                PageID 1491


inmates with mental health disabilities from accessing the Jail’s

services. See Ability Ctr. of Greater Toledo v. City of Sandusky,

385 F.3d 901, 907 (6th Cir. 2004) (“[Title II] requires that public

entities make reasonable accommodations for disabled individuals

so as not to deprive them of meaningful access to the benefits of

the services such entities provide.” (emphasis added)); S.B. by &

through M.B. v. Lee, 566 F. Supp. 3d 835, 855 (E.D. Tenn. 2021)

(citing Ability Ctr., 385 F.3d at 907 for same proposition).

       Plaintiff’s allegations regarding how the Jail’s deficient

policies specifically applied to Mr. Freeman are also insufficient

to support a failure-to-accommodate claim. Plaintiff asserts that

“the Jail’s perfunctory screening process failed to diagnose Mr.

Freeman upon his arrival. . . . Accordingly, Mr. Freeman had

apparently been exhibiting symptoms of a mental health disorder

for four days without referral to a psychiatrist or social worker,

four days in which access to a mental health professional could

have prevented his descent into a fully psychotic state.” (ECF No.

54-1 at PageID 628-29.) But even if the Jail’s screening process

did temporarily deprive Mr. Freeman of access to the facility’s

mental health services, Plaintiff acknowledges that Jail staff

conducted another, more detailed evaluation by October 5.18 The


18Tothe extent that Plaintiff intends to allege that the intake
nurse committed a medical error by failing to diagnose Mr. Freeman
upon his arrival, such a challenge would not be cognizable under
Title II of the ADA. See Ford v. Jindal, No. 19-cv-13207, 2022 WL
                                  - 63 -
 Case 2:23-cv-02193-MSN-tmp       Document 126         Filed 05/30/25     Page 64 of 67
                                   PageID 1492


complaint states that a licensed social worker was “called to

address”   Mr.     Freeman’s     worsening       psychiatric         condition      that

morning, ultimately placing him on suicide watch, moving him to

the 4-J pod, and scheduling further evaluation by the Jail’s on-

duty   psychiatrist.      (Id.    at   PageID     629.)       Plaintiff        makes   no

contention that this four-day delay was intentional or made in

bad-faith. See Finley, 102 F.4th at 822 (citing Newell v. Cent.

Mich. Univ. Bd. of Trs., No. 20-1864, 2021 WL 3929330, at *8 (6th

Cir.    Sept.    2,   2021))     (holding       that     a   Title      II    delay-in-

accommodation theory may be “colorable” in circumstances where the

delay is “attributable to intentional obstruction tactics or bad

faith”). The undersigned finds that Plaintiff has not plausibly

alleged a Title II reasonable accommodation claim.

       Whether   Plaintiff       has   plausibly        alleged      an      intentional

discrimination claim presents a closer question. To state a claim

of   intentional      discrimination     under     Title      II,    Plaintiff      must

allege “unfavorable treatment on the basis of [Mr. Freeman’s]

disability.” Id. at 823 (citing Knox Cnty., 62 F.4th at 1000).

This theory requires an allegation that Mr. Freeman’s disability



992959, at *7 (E.D. Mich. Mar. 31, 2022) (citing several cases for
the proposition that multiple federal courts, including the Sixth
Circuit, have recognized that “neither the Rehabilitation Act nor
the ADA provide a cause of action for medical malpractice”);
Williams v. Ferguson, No. 3:20-cv-P369-DJH, 2020 WL 3511590, at *4
(W.D. Ky. June 29, 2020) (collecting cases) (“Prisoners, however,
cannot bring claims under the ADA for medical treatment
decisions.”)
                                       - 64 -
 Case 2:23-cv-02193-MSN-tmp         Document 126      Filed 05/30/25    Page 65 of 67
                                     PageID 1493


was    the   “but-for         cause”    of      the    County’s        intentionally

discriminatory behavior. Id. (citing M.J. ex rel. S.J. v. Akron

City Sch. Dist. Bd. of Educ., 1 F.4th 436, 453 (6th Cir. 2021)).

An    assertion   of   a     defendant’s     discriminatory       intent     is   thus

“critical” for a Title II intentional discrimination claim. Carter

v. Washington, No. 23-1760, 2024 WL 3191094, at *6 (6th Cir. June

24, 2024) (quoting Knox Cnty., 62 F.4th at 1000 (cleaned up)).

       In Count IV of her complaint, Plaintiff alleges that “Jail

staff discriminated against Mr. Freeman on the basis of his

disability when they responded to his symptoms of acute psychosis,

attributable      to   his    disability,     with    gratuitous       and   punitive

violence.” (ECF No. 54-1 at PageID 657.) Plaintiff provides some

facts to support that this allegation that officers’ use of force

would not have occurred “but-for” Mr. Freeman’s mental disability.

For example, Plaintiff contends that “Mr. Freeman’s psychiatric

condition had worsened severely” such that he was “exhibiting

symptoms of active psychosis” by the afternoon of October 5,

including “yelling and begging for medical personnel.” (Id. at

PageID 630.) She alleges that, at this point, “Mr. Freeman was[]

at least[] secure in his cell without the means to do himself

harm.” (Id.) However, when Officers Howell and Williams entered

the 4-J pod (which housed inmates “suffer[ing] from severe mental

health   disorders”)         to   deliver    Mr.   Freeman’s     food    tray,    they

directed another officer to fully open Mr. Freeman’s cell door.

                                       - 65 -
 Case 2:23-cv-02193-MSN-tmp       Document 126     Filed 05/30/25    Page 66 of 67
                                   PageID 1494


(Id.    at   PageID   631.)      Plaintiff    alleges     that      this   practice

“substantially increases the likelihood of confrontation with

inmates suffering from acute psychosis or other destabilizing

psychiatric conditions.” (Id.) Indeed, a violent confrontation did

ensue once Officer Williams, according to Plaintiff, “raised and

pointed [his can of mace] at Mr. Freeman without any provocation

and without the need to open the cell door at all.” (Id.)

       These   facts,      viewed    in     conjunction      with      Plaintiff’s

allegations of the officers’ grossly disproportionate response to

Mr. Freeman’s alleged non-violent conduct, raise the inference

that the only explanation for why officers used excessive force

against Mr. Freeman was because of his disability. The undersigned

thus   finds   that   Plaintiff     has   plausibly      alleged      that   County

officers intentionally discriminated against Mr. Freeman on the

basis of his mental disability. The undersigned recommends that

the    County’s   Motion    to    Dismiss     be   denied    with      respect   to

Plaintiff’s claim under Title II of the ADA.

                              III. RECOMMENDATION
       For the foregoing reasons, the undersigned recommends that

defendants’ Motions to Dismiss be granted in part and denied in

part. The undersigned recommends that the motions be granted as to

Plaintiff’s Fourteenth Amendment inadequate medical care and state

law claims, and denied as to Plaintiff’s excessive force claims

against all defendants and ADA claim against the County.


                                     - 66 -
 Case 2:23-cv-02193-MSN-tmp    Document 126   Filed 05/30/25   Page 67 of 67
                                PageID 1495


    Respectfully submitted,

                              s/Tu M. Pham
                              TU M. PHAM
                              Chief United States Magistrate Judge

                              May 30, 2025
                              Date



                                  NOTICE

WITHIN FOURTEEN (14) DAYS AFTER BEING SERVED WITH A COPY OF THIS
REPORT AND RECOMMENDED DISPOSITION, ANY PARTY MAY SERVE AND FILE
SPECIFIC WRITTEN OBJECTIONS TO THE PROPOSED FINDINGS AND
RECOMMENDATIONS. ANY PARTY MAY RESPOND TO ANOTHER PARTY’S
OBJECTIONS WITHIN FOURTEEN (14) DAYS AFTER BEING SERVED WITH A
COPY. 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b)(2); L.R.
72.1(g)(2). FAILURE TO FILE OBJECTIONS WITHIN FOURTEEN (14) DAYS
MAY CONSTITUTE A WAIVER AND/OR FORFEITURE OF OBJECTIONS,
EXCEPTIONS, AND FURTHER APPEAL.




                                  - 67 -
